 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 1 of 50 Pageid#: 1




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,"&(,!0+'+<A;<F<A7<I<7H4?64                  4F8'B 333333333333
                                                               7:21cv00203

C46<GL4A7B99<6<4?64C46<GL4F)E8F<78AGB9        
.<E:<A<4)B?LG86;A<6"AFG<GHG84A7+G4G8                     
-A<I8EF<GL0*"%%*$<A;<F<A7<
I<7H4?64C46<GL4A7B99<6<4?64C46<GL4FK
86HG<I8.<68)E8F<78AG4A7)EBIBFG
$%%0($+<A;8E<A7<I<7H4?64C46<GL
4A7B99<6<4?64C46<GL4FFF<FG4AG.<68)E8F<
78AG9BEDH<GL4A7668FF<5<?<GL0*('
!- !+<A;<F<A7<I<7H4?64C46<GL4A7
B99<6<4?64C46<GL4F84AB9+GH78AGF'
'"+&**0<A;8E<A7<I<7H4?64C46
<GL4A7B99<6<4?64C46<GL4F<E86GBEB9G;8
(99<68B9+GH78AGBA7H6G+(,,&"
$"<A;<F<A7<I<7H4?64C46<GL4A7B99<6<4?
64C46<GL4F;<89"A9BE@4G<BA(99<68E4A7
.<68)E8F<78AG9BE"A9BE@4G<BA,86;AB?
B:L$"&(T*(-*$<A;8E<A7<I<7H4?
64C46<GL4A7B99<6<4?64C46<GL4F.<68)E8F<
78AG9BE)B?<6L4A7 BI8EA4A68!(
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<AG;8<E<A7<I<7H4?64C46<G<8F4A7B99<6<4?64
C46<G<8F4F@8@58EFB9G;8.<E:<A<4)B?L
G86;A<6"AFG<GHG84A7+G4G8-A<I8EF<GL
B4E7B9.<F<GBEF
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  Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 2 of 50 Pageid#: 2




       )?4<AG<99 +C886; <EFG "A6  5E<A:F G;<F 46G<BA HA78E G;8 <EFG 4A7 BHEG88AG;

@8A7@8AGFGBG;8-A<G87+G4G8FBAFG<GHG<BA2&&- +  N 4:4<AFG898A74AGF

4A74??8:8F4F9B??BJF

                                      
              Q,;8I<:<?4AGCEBG86G<BAB96BAFG<GHG<BA4?9E887B@F<FABJ;8E8@BE8I<G4?

G;4A<AG;86B@@HA<GLB9@8E<64A1HA<I8EF<G<8F2 R&",85"-&2 - +    

  "AG;8BELQ1G2;86B??8:864@CHF<FC86H?<4E?LFH<G87GBF8EI84F4@4E>8GC?468B9

<784F4A749BEH@9BEG;8EB5HFG8K6;4A:8B97<998E8AGI<8JCB<AGF R/,*%/$+/4.%5

)*/3"3&.*5 +HCC  +  (;<B  

             08G.<E:<A<4,86;4A7<GFB99<6<4?F;4I86E84G874F8E<8FB9EH?8F4A7E8:H

?4G<BAFG;4GE8FGE4<A78G8EFHCCE8FF4A7CHA<F;FC886;45BHGG;8CB?<G<64?4A7FB6<4?

<FFH8FB9G;874L ,;8F8E8FGE<6G<BAF7<FE8:4E7786478FB9CE86878AG BHE4E8C4EG<6H

?4E?L8:E8:<BHF 

             <EFG G;8 -A<I8EF<GLTF 7<F6E<@<A4GBEL ;4E4FF@8AG CB?<6L 7<F6<C?<A8F FGH

78AGFJ;B8A:4:8<AQ<A4CCEBCE<4G86BA7H6GG;4G<F54F87HCBA4C8EFBATF4:86B?BE

7<F45<?<GL :8A78E <A6?H7<A: CE8:A4A6L :8A78E <78AG<GL :8A78E 8KCE8FF<BA A4G<BA4?

BE<:<ACB?<G<64?499<?<4G<BAE468E8?<:<BAF8KH4?BE<8AG4G<BABEI8G8E4AFG4GHF4A7HAE84

FBA45?L<AG8E98E8FJ<G;G;8C8EFBATFJBE>BE46478@<6C8E9BE@4A68BEC4EG<6<C4G<BA<A

HA<I8EF<GL46G<I<G<8FBE6E84G8F4JBE><A:BE?84EA<A:8AI<EBA@8AGG;4G4E84FBA45?8C8E

FBAJBH?79<A7;BFG<?8G;E84G8A<A:BE<AG<@<74G<A: R66BE7<A:GBG;8-A<I8EF<GLQ7<F

6E<@<A4GBEL;4E4FF@8AGR<A6?H78FQG8??<A:HAJ8?6B@8=B>8F45BHGFB@8BA8TF<78AG<GLR


                                               
  Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 3 of 50 Pageid#: 3




4A7Q1H2E:<A:E8?<:<BHF58?<89FBAFB@8BA8J;B9<A7F<GHAJ8?6B@8 R,;<FI4:H84A7

BI8E5EB47E8FGE<6G<BABACEBG86G87FC886;I<B?4G8FG;8<EFG4A7BHEG88AG;@8A7

@8AGF 

            +86BA7G;8-A<I8EF<GLTF6B@CHG8ECB?<6L9BE5<7FFGH78AGF9EB@HF<A:<GF

A8GJBE>9BEQC4EG<F4ACB?<G<64?CHECBF8F R"G4?FBCEB;<5<GFFGH78AGF9EB@I<B?4G<A:QG;8

E<:;GFB9BG;8EFGB589E88B9<AG<@<74G<BA;4E4FF@8AG4A7HAJ4EE4AG874AABL4A68 R

.<B?4G<BAFB9G;86B@CHG8ECB?<6L64A?847GBG;8?BFFB96B@CHG8EBEA8GJBE>CE<I<?8:8F

4A78I8A9BE@4?7<F6<C?<A8 ,;8CB?<6L<F4I4:H8BI8E5EB47E8FGE<6G<BABACEBG86G87

FC886;G;4G<F<A6B@C4G<5?8J<G;G;8<EFG4A7BHEG88AG;@8A7@8AGF 

            ,;<E7G;8-A<I8EF<GLTF5<4F E8?4G87<A6<78AGFCB?<6L@4EG<4?FG;84HG;BE<GL

B9 -A<I8EF<GL 47@<A<FGE4GBEF GB CB?<68 FC886; G;4G FB@8BA8 58?<8I8F <F @BG<I4G87 5L

Q5<4F RQ<4F E8?4G87<A6<78AGFR4E89BE@4??L789<A874FQ8KCE8FF<BAF4:4<AFG4C8EFBABE

:EBHC5864HF8B9G;8C8EFBATFBE:EBHCTF4:86B?BE7<F45<?<GL:8A78E<A6?H7<A:CE8:

A4A6L:8A78E<78AG<GL:8A78E8KCE8FF<BA:8A8G<6<A9BE@4G<BAA4G<BA4?BE<:<ACB?<G<64?

499<?<4G<BAE468E8?<:<BAF8KH4?BE<8AG4G<BAI8G8E4AFG4GHFBE4ALBG;8E54F<FCEBG86G87

5L?4J R<4F E8?4G87<A6<78AGF64AB66HEBABEB9964@CHF<A6?H7<A:BAFB6<4?@87<4 

+GH78AGF466HF87B9Q5<4F E8?4G87<A6<78AGFR64A58E898EE879BE9BE@4?7<F6<C?<A4ELCEB

6887<A:FBEFH@@BA879BEQ87H64G<BA4?<AG8EI8AG<BAFRJ<G;-A<I8EF<GLB99<6<4?F ,;<F

CB?<6LCBF8F4:E4I8E<F>B96;<??<A:G;8BC8A4A7HA98GG8E877<F6BHEF8G;4GF;BH?758

68AGE4? GB ;<:;8E 87H64G<BA  "GF 5HE84H6E4G<6 CEB68FF8FP4A7 G;8 I4:H8 BI8E5EB47




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  Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 4 of 50 Pageid#: 4




789<A<G<BA B9 Q5<4F E8?4G87 <A6<78AGR G;4G GE<::8EF G;8@PI<B?4G8 G;8 <EFG 4A7 BHE

G88AG;@8A7@8AGF 

                <A4??LG;8-A<I8EF<GLTFQ<A9BE@4G<BA4?46G<I<G<8FRCB?<6L9BE5<7FFGH78AGF

9EB@ Q7<FGE<5HG1<A:2 ?<G8E4GHE8 4A7 BE C8G<G<BA<A: 9BE F<:A4GHE8FR BA 64@CHF J<G;BHG

CE<BEJE<GG8A4HG;BE<M4G<BA9EB@G;8-A<I8EF<GLP4HG;BE<M4G<BAG;4G<F:<I8ABA?L9BE

8I8AGF G;4G 4E8 QFCBAFBE87 5L 4 HA<I8EF<GL 499<?<4G87 BE:4A<M4G<BA R ,;<F CB?<6L <F 4

FC84>8E 54F87CE<BEE8FGE4<AGBACEBG86G8746G<I<GLG;4GI<B?4G8FG;8<EFG@8A7@8AG 

                                   
                ,;<F 46G<BA 4E<F8F HA78E G;8 <EFG 4A7 BHEG88AG; @8A7@8AGF GB G;8

-A<G87+G4G8FBAFG<GHG<BA4A7<F5EBH:;GI<4- +  NN 4A7  

                ,;8 BHEG ;4F FH5=86G @4GG8E =HE<F7<6G<BA HA78E  - +   NN   4A7

  

                .8AH8<FCEBC8EHA78E- +  N  5864HF84??898A74AGFE8F<78;8E8

4A74FH5FG4AG<4?C4EGB9G;88I8AGFBEB@<FF<BAF:<I<A:E<F8GBG;86?4<@FB66HEE87;8E8 

                                            
                 )?4<AG<99+C886;<EFG"A6 <F4A4G<BAJ<78@8@58EF;<CBE:4A<M4G<BAB9

FGH78AGF4?H@A<4A7BG;8E6BA68EA876<G<M8AF +C886;<EFG<F787<64G87GBCE8F8EI<A:

6<I<? E<:;GF F86HE87 5L ?4J <A6?H7<A: G;8 9E887B@ B9 FC886; :H4E4AG887 5L G;8 <EFG

@8A7@8AG +C886;<EFGF88>FGBCEBG86GG;8E<:;GFB9FGH78AGF4A7BG;8EF4G6B??8:8F

4A7HA<I8EF<G<8FG;EBH:;?<G<:4G<BA4A7BG;8E?4J9H?@84AF +C886;<EFG;4F@8@58EF

J;B4GG8A7G;8-A<I8EF<GL<A6?H7<A:+GH78AGF4A7 



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  Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 5 of 50 Pageid#: 5




               .<E:<A<4)B?LG86;A<6"AFG<GHG84A7+G4G8-A<I8EF<GLP58GG8E>ABJA4F.<E

:<A<4,86;P<F4CH5?<6HA<I8EF<GLBE:4A<M874A78K<FG<A:HA78EG;8?4JFB9.<E:<A<4 

              898A74AG,<@BG;L+4A7F<F)E8F<78AGB9G;8-A<I8EF<GL +4A7F<FE8FCBA

F<5?89BEG;88A46G@8AG4A78A9BE68@8AGB9-A<I8EF<GLCB?<6<8F<A6?H7<A:G;8CB?<6<8F

6;4??8A:87;8E8 +4A7F<FFH87<A;<F<A7<I<7H4?4A7B99<6<4?64C46<G<8F 

              898A74AG LE<? ?4E>8 <F K86HG<I8 .<68 )E8F<78AG 4A7 )EBIBFGB9 G;8

-A<I8EF<GL ?4E>8<FE8FCBAF<5?89BEG;88A46G@8AG4A78A9BE68@8AGB9-A<I8EF<GLCB?

<6<8F<A6?H7<A:G;8CB?<6<8F6;4??8A:87;8E8 ?4E>8<FFH87<A;<F<A7<I<7H4?4A7B99<6<4?

64C46<G<8F 

              898A74AG$8??L(4>F<FG;8-A<I8EF<GLTFFF<FG4AG.<68)E8F<78AG9BED

H<GL4A7668FF<5<?<GL (4>F<FE8FCBAF<5?89BE8A9BE6<A:G;8-A<I8EF<GLTF7<F6E<@<A4G<BA

4A7;4E4FF@8AGCB?<6<8F (4>F<FFH87<A;8E<A7<I<7H4?4A7B99<6<4?64C46<G<8F 

              898A74AGLEBA!H:;8F<FG;8-A<I8EF<GLTF84AB9+GH78AGF !H:;8F<F

E8FCBAF<5?89BEA84E?L8I8EL4FC86GB9G;8-A<I8EF<GLTF<AG8E46G<BAJ<G;FGH78AGF<A6?H7

<A:-A<I8EF<GL FCBAFBE8746G<I<G<8F4A7FGH78AGFT6B@C?<4A68J<G;-A<I8EF<GLCB?<6<8F 

!H:;8F<FFH87<A;<F<A7<I<7H4?4A7B99<6<4?64C46<G<8F 

              898A74AGAA<F&6E84EL<FG;8<E86GBEB9G;8-A<I8EF<GLTF(99<68B9

+GH78AGBA7H6G &6E84EL<FE8FCBAF<5?89BEHC;B?7<A:4A78A9BE6<A:G;8-A<I8EF<GLTF

58;4I<BE4?FG4A74E7F47@<A<FG8E<A:G;8-A<I8EF<GLTF6BA7H6GCEB68FF4A7BI8EF88<A:

F4A6G<BAF &6E84EL<FFH87<A;8E<A7<I<7H4?4A7B99<6<4?64C46<G<8F 




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  Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 6 of 50 Pageid#: 6




              898A74AG+6BGG&<7><99<FG;8-A<I8EF<GLTF;<89"A9BE@4G<BA(99<68E4A7

.<68)E8F<78AG9BE"A9BE@4G<BA,86;AB?B:L &<7><99<FE8FCBAF<5?89BEG;8<@C?8@8A

G4G<BA4A78A9BE68@8AGB9G;8-A<I8EF<GLTF<A9BE@4G<BAG86;AB?B:LCB?<6<8F<A6?H7<A:

G;86B@CHG8ECB?<6<8F6;4??8A:87;8E8 &<7><99<FFH87<A;<F<A7<I<7H4?4A7B99<6<4?64

C46<G<8F 

              898A74AG $<@ (T*BHE>8 <F G;8 -A<I8EF<GLTF .<68 )E8F<78AG 9BE )B?<6L

4A7 BI8EA4A68 (T*BHE>8<FE8FCBAF<5?89BEG;86E84G<BA4A7<@C?8@8AG4G<BAB94??

-A<I8EF<GLCB?<6<8F<A6?H7<A:G;8CB?<6<8F6;4??8A:87;8E8 (T*BHE>8<FFH87<A;8E<A

7<I<7H4?4A7B99<6<4?64C46<G<8F 

              898A74AGF !BE46<B .4?8<E4F *86GBE %8G<G<4 %BA: .<68 *86GBE 7

J4E74<A8+;8??8LHG?8E4E?BJ4EE<8;8A8EL E8G4!4EE<F;4E?8F!<??AA4

#4@8F+;4EBAE<6>;BHF8&4EG<A&8?<FF4LEA8'8?FBA;E<F)8G8EFBA&8;H?+4A:

;4A<#899.84G6;4A7)E8FGBA/;<G84E8@8@58EFB9G;8-A<I8EF<GLB4E7B9.<F<GBEF 

,;8B4E7B9.<F<GBEF<FG;8Q:BI8EA<A:4HG;BE<GLRB9G;8-A<I8EF<GL4A7<FQE8FCBAF<5?8

9BEOG;854F<6CB?<6<8FHA78EJ;<6;<G<F47@<A<FG8E87R<A6?H7<A:G;8CB?<6<8F6;4?

?8A:87;8E8 ,;8B4E7898A74AGF4E84??FH87<AG;8<E<A7<I<7H4?4A7B99<6<4?64C46<G<8F 

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        )&&!#!-. !(-,( $!%+ %+,-'!( '!(-%#$-,
              Q,;8<EFG@8A7@8AGE89?86GFS4CEB9BHA7A4G<BA4?6B@@<G@8AGGBG;8

CE<A6<C?8G;4G7854G8BACH5?<6<FFH8FF;BH?758HA<A;<5<G87EB5HFG4A7J<78 BC8A TR

.8%&15)&,02- +       DHBG<A:!*-&2 /54,,*5".- + 



                                              
  Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 7 of 50 Pageid#: 7




   Q,;8E<:;GB96<G<M8AFGB<ADH<E8GB;84EGBFC84>4A7GBHF8<A9BE

@4G<BAGBE846;6BAF8AFHF<F4CE86BA7<G<BAGB8A?<:;G8A87F8?9 :BI8EA@8AG4A74A86

8FF4EL@84AFGBCEBG86G<G R *3*9&.2.*3&%5 - +           

            ,;8<EFG@8A7@8AGTF<@CBEG4A68<F4G<GF4C8K4GBHEA4G<BATF6B??8:8F

4A7HA<I8EF<G<8F Q,;8I<:<?4AGCEBG86G<BAB96BAFG<GHG<BA4?9E887B@F<FABJ;8E8@BE8

I<G4? G;4A <A G;8 6B@@HA<GL B9 @8E<64A F6;BB?F 1B9 ;<:;8E 87H64G<BA2  ,;8 6B??8:8

6?4FFEBB@J<G;<GFFHEEBHA7<A:8AI<EBAF<FC86H?<4E?LG;8S@4E>8GC?468B9<784F TR&",8

 - + 4G  DHBG<A:)&,3/.54$+&1- +    ,;86BE8CE<A6<C?8F

B9G;8<EFG@8A7@8AGQ46DH<E84FC86<4?F<:A<9<64A68<AG;8HA<I8EF<GLF8GG<A:J;8E8

G;89E884A7HA98GG8E87<AG8EC?4LB96B@C8G<A:I<8JF<F8FF8AG<4?GBG;8<AFG<GHG<BATF87

H64G<BA4?@<FF<BA R/&5.*5/'*$)  +HCC   &<6;  6<G<A:

&8*2)*".5 %/'&(&.32- +    Q,846;8EF4A7FGH78AGF@HFG4?J4LF

E8@4<A9E88GB<ADH<E8GBFGH7L4A7GB8I4?H4G8GB:4<AA8J@4GHE<GL4A7HA78EFG4A7<A:

BG;8EJ<F8BHE6<I<?<M4G<BAJ<??FG4:A4G84A77<8 R6&&985&71&, 8-".- + 

   

           ,;8<EFG@8A7@8AGTFCEBG86G<BAF@BE8BI8E4E8QABG6BA9<A87GBG;8

FHC8EI<F87 4A7 BE74<A87 7<F6HFF<BA J;<6; G4>8F C?468 <A G;8 6?4FFEBB@R 5HG 8KG8A7

G;EBH:;BHG4HA<I8EF<GLTF64@CHF /,*%/$+/4.% +HCC 4G  

           )HGF<@C?LQ<EFG@8A7@8AGCEBG86G<BAF17BABG24CC?LJ<G;?8FF9BE68

BA6B??8:864@CHF8FG;4A<AG;86B@@HA<GL4G?4E:8 R&",8 - + 4G  Q,;8@8E8

7<FF8@<A4G<BAB9<784FPAB@4GG8E;BJB998AF<I8GB:BB7G4FG8PBA4FG4G8HA<I8EF<GL

                                             
  Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 8 of 50 Pageid#: 8




64@CHF@4LABG58F;HGB99<AG;8A4@84?BA8B9S6BAI8AG<BAFB97868A6L TR"0*2)5

 %/' 41"3/12/'.*5/'/ - +    "A7887QG;8CB<AGB94??FC886;

CEBG86G<BA<FOGBF;<8?7=HFGG;BF86;B<68FB96BAG8AGG;4G<AFB@8BA8TF8L8F4E8@<F

:H<787BE8I8A;HEG9H? R41,&851*2) -&1*$"."8&2#*".".% *2&74",1/40/' /23/.

.$ - +   ,;8F8CE<A6<C?8F4CC?LJ<G;@BE89BE68Q1<2ABHE6HEE8AG

A4G<BA4?6BA7<G<BARABG?8FF 0&&$)*123.$5&.5&2 7 G;<E    

   (%/!+,%-%!,1,!)"*!!$ ) !,( %,!,*)(,!!',-) $%&&
       *!!$
            "AFG847B9CEB@BG<A:G;8QEB5HFG8K6;4A:8B9<784FR&8*2)*".5 %/'

&(&.32/'.*5/'!- +   HA<I8EF<G<8F4E8ABJ@BE8<AG8E8FG87

<ACEBG86G<A:FGH78AGF9EB@<784FG;4G@4>8G;8@HA6B@9BEG45?8 -A<I8EF<G<8F7BG;<F

5L47BCG<A:CB?<6<8F4A7CEB687HE8FG;4G7<F6BHE4:8FC886;5LFGH78AGFJ;B74E8GB

7<F4:E88J<G;G;8CE8I4<?<A:64@CHFBEG;B7BKL 

            (A8 GE<87 4A7 GEH8 @8G;B7 B9 466B@C?<F;<A: G;<F 984G <F G;8 64@CHF

FC886;6B78 +C886;6B78F466BE7<A:GBG;8BHA74G<BA9BE"A7<I<7H4?*<:;GF<A7H

64G<BA"*4E8QHA<I8EF<GLE8:H?4G<BAFCEB;<5<G<A:8KCE8FF<BAG;4GJBH?7586BAFG<

GHG<BA4??L CEBG86G87 <A FB6<8GL 4G ?4E:8 R 0/3,*()3 /. 0&&$) /%&2   4G    "*

5<G ?L )K>ME 

            +C886;6B78FCHA<F;FGH78AGF9BEHA78F<E45?864G8:BE<8FB9FC886;FH6;

4FQ;4E4FF@8AGRQ5H??L<A:RQ;4G8FC886;R4A7Q<A6<I<?<GL R864HF8G;8F8CB?<6<8F<@

CBF8I4:H8BI8E5EB476BAG8AG 54F874A7FB@8G<@8FI<8JCB<AG 54F87E8FGE<6G<BAFBA



                                               
  Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 9 of 50 Pageid#: 9




FC886;9878E4?6BHEGFE8:H?4E?LFGE<>8G;8@7BJA % 4G 2&&",2/&.5&2 7

4G A 6B??86G<A:Q46BAF<FG8AG?<A8B964F8FG;4G;4I8HA<9BE@?L9BHA764@CHF

FC886;6B78FHA6BAFG<GHG<BA4??LBI8E5EB47BEI4:H8R 

           "A477<G<BAGBFC886;6B78FHA<I8EF<G<8F4E8<A6E84F<A:?LGHEA<A:GB4A8J

<AABI4G<I8J4LGB78G8E7<F94IBE87FC886;PFB 64??87Q5<4FE8FCBAF8G84@F R

           %<I<A: HC GB G;8<E (EJ8??<4A A4@8 5<4F E8FCBAF8 G84@F 8A6BHE4:8 FGH

78AGFGB@BA<GBE846;BG;8ETFFC886;4A7E8CBEG<A6<78AGFB9Q5<4FRGBG;8-A<I8EF<GL

B9G8A4ABAL@BHF?L Q<4FR<F789<A87<A6E87<5?L5EB47?L4A76BI8EFJ<78FJ4G;FB9

CEBG86G87FC886;<A946GFC886;<FB9G8A?458?87Q5<4F87R54F87FB?8?LBAG;8?<FG8A8ETF

FH5=86G<I8E846G<BAGB<G 

           +GH78AGF;4I8588AE8CBEG87GB5<4F E8FCBAF8G84@F9BEJE<G<A:4F4G<E<64?

4EG<6?845BHGQF498FC468FRGJ88G<A:Q?46>%<I8F&4GG8ER6;4?><A:QH<?7G;8/4??R

BA 4 F<78J4?> 4A7 8KCE8FF<A: FHCCBEG 9BE BA4?7 ,EH@C  *"2 &20/.2& &"- &0/13

  4G  "*5<G ?L )<4= 

            9G8EE868<I<A:E8CBEGFB945<4F<A6<78AG5<4F E8FCBAF8G84@FGLC<64??L?B:

G;8<A6<78AG<AI8FG<:4G8<G@88GJ<G;G;8E8?8I4AGC4EG<8F4GG8@CGGBE887H64G8G;8QB9

98A78ER4A764AE86B@@8A79BE@4?BE<A9BE@4?7<F6<C?<A8 

            ?G;BH:;HA<I8EF<G<8F6?4<@G;<FCEB68FF<F8AG<E8?LIB?HAG4ELG;8L>ABJ

FGH78AGF7BABGF88<GG;4GJ4L ,;8- + BHEGB9CC84?F9BEG;8+<KG;<E6H<G7<7ABG

F88<GG;4GJ4L8<G;8E "G9BHA7G;4G4AQ<AI<G4G<BA9EB@145<4F E8FCBAF8G84@2GB@88G

6BH?764EEL4A<@C?<6<GG;E84GB96BAF8DH8A68F;BH?74FGH78AG786?<A8G;8<AI<G4G<BA R

                                            
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 10 of 50 Pageid#: 10




0&&$)*123.$5$),*22&, 7G;<E   I8AJ;8AQG;8E8<FAB

<A7<64G<BAG;4GG;8<AI<G4G<BAGB@88G6BAG4<AFBI8EGG;E84GFRG;8-A<I8EF<GLTF7<F6<C?<

A4ELQE898EE4?CBJ8E?HE>F<AG;8546>:EBHA7 R%

              E8CBEG9EB@"*9BHA7G;4G5<4F E8FCBAF8G84@F@BA<GBECEB

G86G878KCE8FF<BA4A7?847GBQ4FHEI8<??4A68FG4G8BA64@CHFJ;8E8FGH78AGF4A7946H?GL

@HFG:H4E7G;8<E8I8ELHGG8E4A689BE984EB958<A:E8CBEG87GB4A7<AI8FG<:4G875LG;8

47@<A<FGE4G<BA R *"2&20/.2&&"-&0/13  4G Q1,2;8CBFGHE8G4>8A5L@4AL

<4F*8FCBAF8,84@FRG;8FGH7L9BHA7Q<F4??GBB?<>8?LGB6E84G8CEB9BHA7E<F>FGB

9E887B@B98KCE8FF<BA9E887B@B94FFB6<4G<BA4A746478@<69E887B@BA64@CHF R% 

4G 

             (G;8EHA<I8EF<G<8F;4I87<F6BI8E87G;4G5<4F E8FCBAF8G84@F6;<??FGH78AG

FC886; ,;8-A<I8EF<GLB9'BEG;8EAB?BE47B9BE8K4@C?8F;HGG8E87<GF5<4F E8FCBAF8

G84@<A 8KC?4<A<A:G;4G<G;476B@8Q4GG;88KC8AF8B99E88FC886;4A746478@<6

9E887B@R4A7G;4G<GFFB 64??87QIB?HAG4ELRCEB68FF8FQ@478C8BC?8988?G;4GJ8J8E8

G8??<A: G;8@ J;4G G;8L F;BH?7 4A7 F;BH?7ATG F4L R ,;8 -A<I8EF<GL B9 "BJ4 ?<>8J<F8

F6E4CC87<GFC?4AFGB6E84G845<4F E8FCBAF8G84@6<G<A:G;8<EQ;<:;94<?HE8E4G8R4A7

G;8<EG8A78A6LGBQ586B@84?@BFGCHA<G<I8 R

             -A<I8EF<GL CEB98FFBEF ;4I8 F<@<?4E?L B5F8EI87 G;4G 5<4F E8FCBAF8 G84@F

QE8FH?G<A4GEBH5?<A:F<?8A68+GH78AGFFG4994A7946H?GL14E8249E4<7GBFC84>G;8<E@<A7F

4A7<A7<I<7H4?FBE:EBHCF14E8245?8GB?8I8E4:85<4FE8CBEG<A:CB?<6<8FGBF;HG7BJA

HACBCH?4EBE@<ABE<GLI<8JCB<AGF R#899E8L+AL78E@A4$;4?<7)&*2&/': *"2

                                             
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 11 of 50 Pageid#: 11




&20/.2&&"-2;/. "-042,;8'8J*8CH5?<6&4E   5<G ?L +4<2&&",2/

$8<G;/;<GG<A:GBA1&&0&&$)".%3)&*5&12&.*5&12*38BE7;4@% *8I 

 Q1299BEGF15L5<4F E8FCBAF8G84@F2GB8A6BHE4:8FGH78AGFGB4ABAL@BHF?L<A<

G<4G87<F6<C?<A4ELCEB6887<A:F9BEC8E68<I8746GFB95<4FBEGBF;8?G8EG;8@F8?I8F9EB@

7<F4:E8845?8<784F4E8?<>8?LGBFH5I8EG9E884A7BC8A<ADH<EL4A7<AI<G8984EFB9CB?<G<64?

94IBE<G<F@ R 

            BHEGF;4I8?<>8J<F8E86B:A<M87G;86;<??<A:89986GB95<4F E8FCBAF8G84@F

G;4G 6?BF8?L E8F8@5?8 G;8 -A<I8EF<GLTF  9G8E +C886; <EFG 6;4??8A:87 F<@<?4E 5<4F E8

FCBAF8G84@F4GG;8-A<I8EF<GLB9,8K4F4A7G;8-A<I8EF<GLB9&<6;<:4A5BG;F6;BB?F

7<F54A787G;8<EG84@F ,;8+<KG;<E6H<G;8?7G;4G&<6;<:4ATFG84@<@CBF874AQB5=86

G<I86;<??RBAFC886;5864HF8<GQ46G18725LJ4LB9<@C?<6<GG;E84GB9CHA<F;@8AG4A7

<AG<@<74G<BAGBDH8??FC886; R$),*22&, 74G ,;8<9G;<E6H<G4:E887FGE8FF

<A: G;4G ,8K4FTF G84@ QE8CE8F8AG1872 G;8 6?8A6;87 9<FG <A G;8 I8?I8G :?BI8 B9 FGH78AG

FC886;E8:H?4G<BA R&.5&2 74G 

            -AFHECE<F<A:?LG;8E<F8B95<4F E8FCBAF8G84@F4A7FC886;6B78F4GHA<

I8EF<G<8F<F@4G6;875L4C4E4??8?E<F8<AG;8C8E68AG4:8B96B??8:8FGH78AGFJ;B58?<8I8

G;8L4E8ABG9E88GB8KCE8FF6BAGEBI8EF<4?BC<A<BAFBA64@CHF 66BE7<A:GB4+8CG8@

58E  FHEI8LB9@BE8G;4A          @8E<64A6B??8:8FGH78AGF4A4FGBA<F;<A:C8E

68AGB9FGH78AGF58?<8I8G;8<EHA<I8EF<GLJBH?7CHA<F;G;8@9BE@4><A:4AB998AF<I8BE

6BAGEBI8EF<4? FG4G8@8AG    /,,&(& 1&& 0&&$) ".+*.(2  "* +8CG    

5<G ?L J@<. F8C4E4G8FHEI8L9BHA7G;4G4@BA:ABA 9E8F;@4A6B??8:8FGH78AGF

                                               
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 12 of 50 Pageid#: 12




A84E?L;4?9E8CBEG87G;4GQF;4E<A:<784F4A74F><A:DH8FG<BAFJ<G;BHG984EB9E8G4?<4G<BA

8I8AJ;8AG;BF8<784F4E8B998AF<I8GBFB@8C8BC?8R;47586B@8Q@BE87<99<6H?GR<A

G;84??  F8@8FG8EG;4A<ACE8I<BHFF8@8FG8EF  "-042701&22*/.415&8&0/13  

4G!8G8EB7BK6478@L&4E   5<G ?L  B <L 

 $!(%/!+,%-01, %,+%'%(-)+0+,,'!(-)&%0
           (AH:HFG   G;8-A<I8EF<GLB4E7B9.<F<GBEF4CCEBI874E8I<F87

I8EF<BAB9)B?<6L G<G?87)B?<6LBA!4E4FF@8AG<F6E<@<A4G<BA4A7+8KH4?FF4H?G 

           66BE7<A: GB G;8 -A<I8EF<GLTF B@@<FF<BA BA +GH78AG 994<EF )B?<6L

  TFCHECBF8<FGBQ6E84G86BAF<FG8A6L46EBFFG;8-A<I8EF<GL<A477E8FF<A:6BA7H6G

G;4GEHAF6BAGE4ELGB-A<I8EF<GLI4?H8F RHE<A:4A(6GB58E  B@@<FF<BA@88G<A:

G;8B@@<FF<BAFG4G87G;4GG;8:B4?B9)B?<6L         <FGBE8DH<E858;4I<BEG;4G4?<:AF

J<G; G;8 -A<I8EF<GLTF I4?H8F 4A7 CEB;<5<G 58;4I<BE G;4G 7B8FATG  ,;8 4:8A74 9BE G;8

@88G<A: <A6?H787 G;8 9B??BJ<A: DH8FG<BA Q.4?H8F J;4G F;BH?7 )B?<6L      CEB;<5<G

4A7E8DH<E858LBA76B@C?<4A68B5?<:4G<BAFR

           )B?<6L CEB;<5<GFQ162BA7H6GB94ALGLC8BE4?JE<GG8A:E4C;<68?86

GEBA<6BEC;LF<64?G;4G<F54F87HCBA4C8EFBATF4:86B?BE7<F45<?<GLF8K<A6?H7<A:

CE8:A4A6L:8A78E:8A78E<78AG<GL:8A78E8KCE8FF<BA:8A8G<6<A9BE@4G<BAA4G<BA4?

BE<:<ACB?<G<64?499<?<4G<BAE468E8?<:<BAF8KH4?BE<8AG4G<BABEI8G8E4AFG4GHF4A7HAE84

FBA45?L<AG8E98E8FJ<G;G;8C8EFBATFJBE>BE46478@<6C8E9BE@4A68BEC4EG<6<C4G<BA<A

HA<I8EF<GL46G<I<G<8FBE6E84G8F4JBE><A:BE?84EA<A:8AI<EBA@8AGG;4G4E84FBA45?8C8E

FBAJBH?79<A7;BFG<?8G;E84G8A<A:BE<AG<@<74G<A: R


                                              
Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 13 of 50 Pageid#: 13




            K4@C?8FB97<F6E<@<A4GBEL;4E4FF@8AG<A6?H78QG8??<A:HAJ8?6B@8=B>8F

45BHGFB@8BA8TF<78AG<GLR4A7QCHGG<A:7BJAC8BC?8J;B4E8B?78EJ;B4E8CE8:A4AG

BEJ;B6B@89EB@BG;8E6BHAGE<8F R

            66BE7<A: GB G;8 -A<I8EF<GL 7<F6E<@<A4GBEL ;4E4FF@8AG 64A B66HE 4AL

J;8E84G4ALG<@85L4AL@87<H@ ,;8CB?<6L4CC?<8FGBQBA 64@CHF<A6<78AGF4A7

B99 64@CHF<A6<78AGFG;4G64HF86BAG<AH<A:89986GFBA64@CHF R"G4HG;BE<M8FQFGH78AGF

BE8@C?BL88FBEBG;8EFBAG;8<E58;4?9RGB9<?86B@C?4<AGFQ4??8:<A:7<F6E<@<A4G<BABE

7<F6E<@<A4GBEL;4E4FF@8AGO64EE<87BHG5L946H?GLFG499BG;8EFGH78AGFBEG;<E7C4E

G<8F R,;8B78B9BA7H6G7<F4IBJF4ALQG<@8?<@<GR9BEFGH78AGFGBE8CBEG4A4??8:87

I<B?4G<BAGBG;8-A<I8EF<GL 

           -A<I8EF<GLQ1427@<A<FGE4GBEFFHC8EI<FBEF4A7G;BF8J<G;<AFGEH6G<BA4?E8

FCBAF<5<?<GLR;4I847HGLGBE8CBEG<A6<78AGFB97<F6E<@<A4GBEL;4E4FF@8AGQJ;8A8I8E

G;8L?84EAP7<E86G?LBE<A7<E86G?LP45BHG1G;8@2 R

           +GH78AGF64A@4>87<F6E<@<A4GBEL ;4E4FF@8AG4??8:4G<BAF5L9<?<A:46B@

C?4<AGJ<G;G;8-A<I8EF<GLTF(99<68B9DH<GL4A7668FF<5<?<GL(PFC86<9<64??L5L

HF<A:G;8DH<GL668FF<5<?<GLB@C?4<AGBE@BAG;8-A<I8EF<GLTFJ85F<G8 ,;89BE@

4F>FG;86B@C?4<A4AGGB78F6E<58G;84??8:87;4E4FF@8AG4A78KC?4<A;BJ(F;BH?7

E8FB?I8G;86B@C?4<AG ,;89BE@4??BJFFGH78AGFGBHC?B47Q1C2;BGBFI<78B8@4<?4A7

BG;8EFHCCBEG<A:7B6H@8AG4G<BA R




                                            
Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 14 of 50 Pageid#: 14




           9G8E4FGH78AG9<?8F46B@C?4<AG(E8I<8JFG;84??8:4G<BAF4A76BA

7H6GF4A<AI8FG<:4G<BA +GH78AGF9BHA7:H<?GLB97<F6E<@<A4GBEL;4E4FF@8AG4E8FH5=86G

GB7<F6<C?<A4EL46G<BAI<4G;8FGH78AG6BA7H6GCEB68FFBHG?<A87<AG;8B78B9BA7H6G 

           8C8A7<A:BAG;8A4GHE8B9G;84??8:87<A6<78AGG;8-A<I8EF<GL64AE8

FB?I84FGH78AG 6BA7H6G64F8G;EBH:;Q4:E887E8FB?HG<BARBE49BE@4?;84E<A: -A78E

4:E887E8FB?HG<BAQG;8E8FCBA78AG@88GFJ<G;4;84E<A:B99<68GB7<F6HFF4A<A6<78AG

4A76B??45BE4G8FJ<G;G;8;84E<A:B99<68EGB78G8E@<A8J;8G;8EG;8LI<B?4G874CB?<6L

4A7<9FBJ;4GF4A6G<BAF@4L584CCEBCE<4G8 R"9G;8FGH78AG7B8FABG4:E88J<G;G;8

;84E<A:B99<68ETF786<F<BAG;8@4GG8ECEB6887FGB49BE@4?;84E<A: +GH78AGFJ;B4E8

9BHA7?<45?89BE7<F6E<@<A4GBEL;4E4FF@8AG4E8FH5=86GGBG;89H??E4A:8B99BE@4?7<F6<

C?<A4ELF4A6G<BAF I8AJ;8AG;8-A<I8EF<GLQ78G8E@<A8FG;4G47=H7<64G<BA<FABG4C

CEBCE<4G8R<GFG<??64A<AI<G8G;8FGH78AGF<AIB?I87QGBC4EG<6<C4G8<A4A87H64G<BA4?6BA

I8EF4G<BA45BHGG;86BA68EAFE4<F87<AG;86B@C?4<AG R

           (A GBC B9 9BE5<77<A: FGH78AGF 9EB@ 8A:4:<A: <A 7<F6E<@<A4GBEL ;4E4FF

@8AGG;8B78B9BA7H6G4?FBC8A4?<M8FFGH78AGF9BE58<A:CE8F8AGQ7HE<A:4ALI<B

?4G<BAB9G;8+GH78AGB78B9BA7H6G4A7 BEBG;8EHA<I8EF<GLCB?<6<8F<AFH6;4J4L

4F GB 6BA7BA8 FHCCBEG BE 8A6BHE4:8 G;4G I<B?4G<BA R ,;8 B78B9 BA7H6G 9HEG;8E

8@C;4F<M8FG;4GFGH78AGFJ;BQ4AG<6<C4G8BEB5F8EI84I<B?4G<BAB9HA<I8EF<GLCB?<6L4E8

8KC86G87GBE8@BI8G;8@F8?I8F9EB@C4EG<6<C4G<BA4A74E88A6BHE4:87GBE8CBEGG;8

I<B?4G<BARGB-A<I8EF<GL4HG;BE<G<8F 




                                             
Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 15 of 50 Pageid#: 15




 $!(%/!+,%-01, )'*.-!+)&%0
           +GH78AGF@HFG6B@C?LJ<G;G;8-A<I8EF<GLTF668CG45?8-F8+G4A74E7GB

@4<AG4<A4668FFGBG;8<AG8EA8GA8GJBE> ,;8FG4A74E7Q4CC?<8FGBG;8HF8B94AL6B@

CHG<A:BE6B@@HA<64G<BAF78I<68E8:4E7?8FFB9BJA8EF;<CJ;<?86BAA86G87GBG;8-A<

I8EF<GLA8GJBE>4A7GBG;8HF8B94AL<A9BE@4G<BAG86;AB?B:LF8EI<68CEBI<7875LBE

G;EBH:;G;8-A<I8EF<GL R

           ,;8668CG45?8-F8+G4A74E7FG4G8FG;4GFGH78AGFQ@HFG'(,RHF8QHA<

I8EF<GLFLFG8@F9BEOC4EG<F4ACB?<G<64?CHECBF8F RA8K4@C?8JBH?758QHF<A:8?86

GEBA<6@4<?GB6<E6H?4G847I8EG<F<A:O9BECB?<G<64?64A7<74G8F R

           (A(6GB58E  G;8-A<I8EF<GL4?FBCEB@H?:4G874E8I<F87I8EF<BA

B9)B?<6L'B      G<G?87668CG45?8-F84A77@<A<FGE4G<BAB9B@CHG8E4A7B@

@HA<64G<BA+LFG8@FJ;<6;:BI8EAFQ8I8EL<A7<I<7H4?HF<A:O.<E:<A<4,86;6B@CHG8E

4A76B@@HA<64G<BAA8GJBE>FFLFG8@F4A7 BE74G4J<G;4AL78I<68 R

            ,B6B@C?LJ<G;)B?<6L         FGH78AGF@HFGQ78@BAFGE4G8E8FC86GB9O

G;8 E<:;GF B9 BG;8EF GB 58 9E88 B9 <AG<@<74G<BA ;4E4FF@8AG 4A7 HAJ4EE4AG87 4AABL

4A68 R)B?<6L     7B8FABG8?45BE4G8BAG;8G8E@FQ<AG<@<74G<BARQ;4E4FF@8AGRBE

QHAJ4EE4AG874AABL4A68 R'BE7B8F<GCEBI<784AL8K4@C?8FB9CEB;<5<G8758;4I<BE 

            )B?<6L      4?FBE8DH<E8FFGH78AGFGB45<785LG;8EH?8FF8G9BEG;<AG;8

668CG45?8-F8+G4A74E7 

           +HFC86G87I<B?4G<BAFB9)B?<6L        64A58E8CBEG87GBG;8-A<I8EF<GLI<4

8@4<? /;8AG;8-A<I8EF<GLE868<I8F4E8CBEGB94A4??8:87I<B?4G<BA<GQ4HGB@4G<64??L


                                              
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 16 of 50 Pageid#: 16




:8A8E4G8F4G<6>8G4A79B??BJ1F2HCBAG;8E8CBEG ??8:87I<B?4G<BAF4E8G;8AE898EE87GB

G;84CCEBCE<4G8-A<I8EF<GLB99<68BE?4J8A9BE68@8AG4:8A6L9BE9HEG;8E<AI8FG<:4G<BA R

,;8-A<I8EF<GLE8F8EI8FG;8E<:;GGBFHFC8A74A466HF87FGH78AGTFA8GJBE>4668FFJ;<?8

<G<AI8FG<:4G8F4A4??8:87I<B?4G<BA 

            ,;8-A<I8EF<GL6BAF<78EFQ4ALI<B?4G<BARB9)B?<6L            GB58Q4F8E<BHF

B998AF8 R+GH78AGF466HF87B9I<B?4G<A:)B?<6L          4E8QFH5=86GGB8FG45?<F;87HA<I8E

F<GL7<F6<C?<A4ELCB?<6<8F4A7CEB687HE8F R-A78EG;8CB?<6LFGH78AGFQJ;BHF8<A9BE

@4G<BAG86;AB?B:LE8FBHE68F<AJ4LFG;4GI<B?4G84-A<I8EF<GLCB?<6L?4JFE8:H?4G<BAF

O BE 4A <A7<I<7H4?TF E<:;GFR 4E8 QFH5=86G GB ?<@<G4G<BA BE G8E@<A4G<BA B9 HF8E CE<I<

?8:8F 4668FFGBF8EI<68F4A74CCEBCE<4G87<F6<C?<A4EL46G<BA?8:4?46G<BABE5BG; R

    $!(%/!+,%-01,%,!&-! (% !(-,)&%0
            (AGBCB9<GFFC886;6B78FG;8-A<I8EF<GL;4F4Q5<4F E8?4G87<A6<78AGFR

CB?<6LG;4G@BA<GBEFQJBE7FBE46G<BAFG;4G6BAGE47<6GG;8FC<E<GB91<GF2)E<A6<C?8FB9

B@@HA<GL R

            ,;8-A<I8EF<GL789<A8F5<4F E8?4G87<A6<78AGF4FQ8KCE8FF<BAF4:4<AFG4C8E

FBABE:EBHC5864HF8B9G;8C8EFBATFBE:EBHCTF4:86B?BE7<F45<?<GL:8A78E<A6?H7<A:

CE8:A4A6L:8A78E<78AG<GL:8A78E8KCE8FF<BA:8A8G<6<A9BE@4G<BAA4G<BA4?BE<:<ACB

?<G<64?499<?<4G<BAE468E8?<:<BAF8KH4?BE<8AG4G<BAI8G8E4AFG4GHFBE4ALBG;8E54F<FCEB

G86G875L?4J R

            <4F E8?4G87<A6<78AGF64AB66HEBABEB9964@CHF<A6?H7<A:BAFB6<4?@8

7<4BEBG;8E7<:<G4?C?4G9BE@F 


                                               
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 17 of 50 Pageid#: 17




           K4@C?8FB95<4F E8?4G87<A6<78AGF?<FG875LG;8-A<I8EF<GL<A6?H78QJBE7F

BE 46G<BAF G;4G 6BAGE47<6G G;8 FC<E<G B9 G;8 1-A<I8EF<GLTF2 )E<A6<C?8F B9 B@@HA<GLR

Q=B>8FG;4G4E878@84A<A:GB4C4EG<6H?4E:EBHCB9C8BC?8RQ4FFH@<A:6;4E46G8E<FG<6F

B94@<ABE<GL:EBHC9BE47I8EG<F<A:R4A7QCBFG<A:9?L8EFG;4G6BAG4<A78@84A<A:?4A

:H4:8BE<@4:8F R

           +GH78AGF 64A FH5@<G 6B@C?4<AGF 45BHG 5<4F <A6<78AGF BA?<A8 I<4 4 Q<4F

"A6<78AG*8CBEG<A:BE@RBAG;8-A<I8EF<GLTFJ85F<G8 B@C?4<A4AGF4E8ABGE8DH<E87

GB<78AG<9LG;8@F8?I8FBECEBI<78G;8<E8@4<?477E8FF8FBEC;BA8AH@58EF 

           ,;8<AG4>89BE@4F>FFGH78AGFGBFC86<9LG;874G84A7?B64G<BAB9G;84?

?8:87<A6<78AG4A7GBQ?<FG4??<AIB?I87C4EG<8F R"G6BAG4<AF8AGE<8F9BEG;8E8FCBA78AGTF

A4@8EB?8<A4FGH78AGBE:4A<M4G<BA<94AL8@4<?477E8FF4A7.<E:<A<4,86;FGH78AG

"AH@58E "G4?FB6BAG4<AF4ABCG<BAGB<A6?H78477<G<BA4?E8FCBA78AGF<94CC?<645?8 

            ,;89BE@E8DH<E8F6B@C?4<A4AGFGBCEBI<78478F6E<CG<BAB9G;8<A6<78AG

4A7CEBI<78F4ABCG<BAGB<A6?H78QFHCCBEG<A:7B6H@8AG4G<BAR9BEG;86B@C?4<AG 

            B@C?4<A4AGF64A6;BBF89EB@4?<FGB9 C8EFBA4?6;4E46G8E<FG<6FG;4G

J8E8G;84??8:8754F<F9BEG;85<4F E8?4G87<A6<78AG ,;8L4?FB;4I8G;8BCG<BAGBF8?86G

QBG;8ER4A7G;8A8?45BE4G8BAG;854F<F9BEG;8<E6B@C?4<AG 

           ,;89BE@4?FB4F>F6B@C?4<A4AGFGBF8?86G4G?84FGBA8B9A<A8G88ABCG<BAF

78F6E<5<A: QG;8 A4GHE8 B9 G;8 <A6<78AG R ,;8 I4E<BHF 64G8:BE<8F B9 Q5<4F E8?4G87 <A6<

78AGFR E86B:A<M87 5L G;8 -A<I8EF<GL <A6?H78 QB@@8AG <A ?4FF BE FF<:A@8AGR

QB@@8AG <A )8EFBAR QB@@8AG <A /E<G<A: BE BA "AG8EA8GR QB@@8AG I<4

                                               
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 18 of 50 Pageid#: 18




@4<? ,8KGRQB@@8AGI<4);BA8 .B<68@4<?RQ@BG<BA4?GG46> FF4H?GRQ"AG<@

<74G<BARQ.8E54?GG46> FF4H?GR4A7Q/E<GG8A+?HE R

           -A<I8EF<GL E86BE7F E8I84? G;4G G;8 I4FG @4=BE<GL B9 5<4F <A6<78AG E8CBEGF

<AIB?I8CEBG86G87FC886; Q<4F E8?4G87<A6<78AGFRE8CBEG87GBG;8-A<I8EF<GL7HE<A:G;8

4?? F8@8FG8E<A6?H787

       • E8CBEGG;4GG;8JBE7FQ+4H7<E45<4RJ8E8JE<GG8ABA4J;<G85B4E7
          BHGF<78B94FGH78AGTF7BE@EBB@ 66BE7<A:GBG;8E8CBEGG;8E8@4<A
          78EB9G;8JBE7FBAG;8J;<G85B4E7;478<G;8E588A8E4F87BEJ8E8
          <??8:<5?8  ,;8 6B@C?4<A4AG 4??8:87 5<4F 54F87 BA QA4G<BA4? BE 8G;A<6
          BE<:<A R

       • E8CBEGG;4G4FGH78AG<A4-A<I8EF<GLE8F<78A68;4??BI8E;84E7F8I8E4?
          @4?8FGH78AGFCE<I4G8?LQG4?><A:6E4C45BHGG;8JB@8AJ;BJ8E8SC?4L
          <A:T <A 142 FABJ54?? 9<:;G R ,;8 J<GA8FF Q6BH?7 ABG E8@8@58E 8K46G
          DHBG4G<BAFR5HGFG4G87G;4GQG;8LBHA:@8AF4<7G;4GG;8LBHA:?47<8F
          <AG;8FABJ54??9<:;GJ8E8ABG4G;?8G<6 R,;86B@C?4<AG4??8:87Q7<F
          6E<@<A4G<BAR4A7Q;4E4FF@8AGR54F87BAQ:8A78E R

       • E8CBEGG;4G4FGH78AGGB?74=B>8QG;4G<A6?H7874<G?LA#8AA8ETF7847
          A4@8R7HE<A:46?4FFEBB@?86GHE8 ,;86B@C?4<AG4??8:87Q7<F6E<@<A4
          G<BARBAG;854F<FB9Q:8A78E<78AG<GL R
           66BE7<A:GB84A!H:;8FG;8-A<I8EF<GLFGE<I8FGBQ585BG;CEB46G<I8

4A7 E8FCBAF<I8R GB 4??8:4G<BAF B9 5<4F E8?4G87 <A6<78AGF  "G HFH4??L E8FCBA7F GB 6B@

C?4<AGFQJ<G;<A;BHEF R

           ,;8 QHA<I8EF<GL <AI8FG<:4G8F 47=H7<64G8F 4A7 47IB64G8F 9BE FGH78AGFR

J;8A<GE868<I8F46B@C?4<AG45BHG45<4F E8?4G87<A6<78AGQFBG;4G4??C4EG<8F4E84J4E8

B9G;8<EE<:;GFE8FCBAF<5<?<G<8F4A7G;88KC86G4G<BAFB9G;8HA<I8EF<GL6B@@HA<GL R




                                              
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 19 of 50 Pageid#: 19




            B@C?4<AGF45BHG5<4F E8?4G87<A6<78AGF4E87<E86G87GBG;884AB9+GH

78AGF(99<68(+J;<6;J<??QE86BE7G;8<A6<78AGJ<G;<AG;8F86HE8(+*8CBEG<A:

+LFG8@R4A7E898EE8CBEGFGBG;8.<E:<A<4,86;BE?46>F5HE:)B?<688C4EG@8AGG;8

-A<I8EF<GL,;E84GFF8FF@8AG,84@BEG;8(99<68B9+GH78AGBA7H6G9BE4AQ4CCEB

CE<4G8E8FCBAF8<9A88787 R

            (+E8I<8JF6B@C?4<AGFHF<A:QG;89B??BJ<A:DH8FG<BAFRQB8F<GF88@

G;8 <A6<78AG <F 5<4F @BG<I4G87 B8F <G I<B?4G8 HA<I8EF<GL CB?<6L B8F <G I<B?4G8 G;8

F;4E87I4?H8F4A78KC86G4G<BAFB9HA<I8EF<GL6B@@HA<GL@8@58EF/;B<F49986G875L

G;8<A6<78AGE8G;8E8?8:4?6BAF8DH8A68F&<:;GG;8<A6<78AG58<AI8FG<:4G874F4;4G8

6E<@8R(+TFE8FCBAF8GB5<4F4??8:4G<BAF<A6?H78QE86BE71<A:28K46G?LJ;4GJ4FF4<7R

4A7Q<A6?H71<A:25LFG4A78EA4@8FR<A<GFFH@@4ELB94A<A6<78AG 

            ,;8-A<I8EF<GLF8C4E4G8F5<4F E8?4G87<A6<78AGF<AGBGJB64G8:BE<8FQ?B64?

<M87R5<4F<A6<78AGF4A7Q6B@@HA<GLR5<4F<A6<78AGF Q%B64?<M87R5<4F<A6<78AGF4E8F88A

BE;84E75L98JC8BC?87BABG<AIB?I8I<B?4G<BAFB94HA<I8EF<GLCB?<6L7BABG:8A8E4G8

<AG8E8FG9EB@G;8@87<44A764AABG58<AI8FG<:4G874F;4G86E<@8F QB@@HA<GLR5<4F

<A6<78AGF5L6BAGE4FG4E8F88ABE;84E75L@4ALC8BC?8<AIB?I8I<B?4G<BAFB9HA<I8EF<GL

CB?<6<8F:8A8E4G8@87<4<AG8E8FGQBE<AG8E8FG9EB@BHGF<78G;8HA<I8EF<GL6B@@HA<GLR

4A764A58<AI8FG<:4G874F;4G86E<@8F 

            /;8A (+ 78G8E@<A8F G;4G 4 Q?B64?<M87R 5<4F E8?4G87 <A6<78AG ;4F B6

6HEE87QG;847@<A<FGE4GBE6?BF8FGGBG;8<A6<78AGJ<??477E8FFG;8<FFH8946<?<G4G84E8

FCBAF8 G;4G E8FBA4G8F J<G; G;8 FGH78AG BE :EBHC B9 FGH78AGF <AIB?I87 4A7 <FFH8 4

                                                
Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 20 of 50 Pageid#: 20




6B@@HA<GLFG4G8@8AG<94CCEBCE<4G8 R"AFH6;<AFG4A68F(+E898EFG;86B@C?4<AGQGB

G;84CCEBCE<4G8B99<68F9BE9B??BJ HC RBE8K4@C?8Q1<29G;858;4I<BE78F6E<587<F4A

<FFH858GJ88AEBB@@4G8FG;4GJBH?7<@C46GG;8<E?<I<A:F<GH4G<BABEG;88KC8E<8A68<A

BHEE8F<78A68;4??F<GJBH?758E898EE87GB!BHF<A:4A7*8F<78A68%<98 R

            /;8A(+78G8E@<A8FG;4G4Q6B@@HA<GLR5<4F E8?4G87<A6<78AG;4FB6

6HEE87<G9BE@F4QBE8*8FCBAF8,84@RGB477E8FFG;8<FFH8Q4FFBBA4F984F<5?8 R

,;8BE8*8FCBAF8,84@64A<A6?H78B99<6<4?F9EB@G;8Q.<E:<A<4,86;BE?46>F5HE:

)B?<688C4EG@8AGR(+G;8(99<68B9+GH78AGBA7H6GG;8"AG8E6H?GHE4?A:4:8

@8AG8AG8EG;8(99<68B9!BHF84A7*8F<78A68%<98Q1728C4EG@8AGFJ;8E8G;8<A6<

78AGB66HEE87R4A7FGH78AGFBEFGH78AGBE:4A<M4G<BAFQG4E:8G87R5LG;8<A6<78AG 

            @BA:BG;8EG;<A:FG;8BE8*8FCBAF8,84@@4L7<F6HFFG;8QCEB68FF

B947=H7<64G<BAJ<G;G;8E8CBEG<A:FGH78AGR78G8E@<A8Q<97<F6<C?<A4EL46G<BA<F4CCEB

CE<4G8RCEBI<78QE8:H?4EFG4GHFE8CBEGFGB1G;82E8CBEG<A:FGH78AGFHAG<?1G;8264F8<F

6?BF87R4A7<@C?8@8AGQ4CCEBCE<4G8E8FGBE4G<I8=HFG<68G86;A<DH8FBE@8G;B7F R

           66BE7<A:GBG;8-A<I8EF<GL4??FGH78AGFQ<AIB?I87R<A45<4F E8?4G87<A6<

78AG4E8Q:<I8AG;8BCCBEGHA<GLGB6<I<??L7<F6HFFG;8<A6<78AGJ<G;4GE4<A87CEB98FF<BA4?

4A7J<??584CCE<F87B9G;8<EBCG<BAF9BEE8FB?I<A:G;8<A6<78AG R

           I8AJ;8A5<4F E8?4G87<A6<78AGF<AIB?I8CEBG86G87FC886;4A77BABGE<F8

GBG;8?8I8?B946E<@8BE4I<B?4G<BAB94ABG;8E-A<I8EF<GLCB?<6LG;8-A<I8EF<GLFG<??

I<8JFG;8@4FQ<A6BAF<FG8AGJ<G;1<GF2)E<A6<C?8FB9B@@HA<GL R,;8-A<I8EF<GL58

?<8I8FG;4G<G<FQ6EH6<4?RGBE8FCBA7GB5<4F <A6<78AGE8CBEGFQ<A4G<@8?L4A76BAF<FG8AG

                                            
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 21 of 50 Pageid#: 21




@4AA8ER E8:4E7?8FF B9 J;8G;8E G;8 Q<A6<78AGF I<B?4G8 CB?<6L BE 4E8 <A4CCEBCE<4G8 BE

<AF8AF<G<I8 R'B@4GG8EJ;4GG;8-A<I8EF<GLQ<F6B@@<GG87GBFGBCC<A:RFH6;<A6<78AGF 

           ,;8-A<I8EF<GLE898EFGBG;<F8AG<E8F6;8@8B9E8CBEG<A:<AI8FG<:4G<A:4A7

E8FCBA7<A:4FQG;85<4F E8?4G87<A6<78AGCEBGB6B? R

           ,;8CEBGB6B?CEBI<78F4AH@58EB9G<CF9BEQ1426;<8I<A:5<4F 9E886B@

@HA<64G<BA R"GG8??FFGH78AGFGBQ15284J4E8B9JBE7F<@4:8F4A7F<GH4G<BAFG;4GFH:

:8FG4??BE@BFGB94:EBHC4E8G;8F4@8RQ142IB<7DH4?<9<8EFG;4GE8<A9BE68FG8E8BGLC8FR

Q15284J4E8B9?4A:H4:8G;4G;4FDH8FG<BA45?8E46<4?8G;A<66?4FFBEF8KH4?BE<8AG4G<BA

6BAABG4G<BAFR Q142IB<7 C4GEBA<M<A: ?4A:H4:8 4A7 GB>8A<F@ GBJ4E7 4AL :EBHCR 4A7

Q1E28I<8J?4A:H4:8<@4:8F4A7BG;8E9BE@FB96B@@HA<64G<BAGB@4>8FHE84??:EBHCF

4E894<E?LE8CE8F8AG87 R

           ,;8CEBGB6B?4?FB<A9BE@FFGH78AGFG;4GQ1J2;<?84JBE7BEC;E4F8@4L

ABG58C8EFBA4??LB998AF<I8GBLBH<G@4L58GBBG;8EF R

           ,;8-A<I8EF<GLCEB@BG8FG;8CEBGB6B?4A78A6BHE4:8FFGH78AGF4A7CEB

98FFBEFGBE8CBEGQ5<4F E8?4G87<A6<78AGF R

           (+J85C4:8Q8A6BHE4:81F2RFGH78AGFQGB@4>84E8CBEGR<9G;8LQ;84E

BEF88FB@8G;<A:G;4G988?F?<>845<4F<A6<78AGFG4G8@8AGBE8KCE8FF<BA R,;8J85C4:8

FGE8FF8F5BEEBJ<A:G;88C4EG@8AGB9!B@8?4A7+86HE<GLTF94@BHFF?B:4A45BHGG8E

EBE<F@Q1<2AF;BEG<9LBHF88FB@8G;<A:F4LFB@8G;<A:R

           "A85EH4EL G;8-A<I8EF<GLTFB99<6<4?,J<GG8E466BHAGGJ88G87Q152<4F

;4FABC?4684G.<E:<A<4,86; !8?CHF@4>8FHE84??!B><8FG;E<I8 +88FB@8G;<A:

                                              
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 22 of 50 Pageid#: 22




+4LFB@8G;<A: R,;8GJ88G<A6?H7874?<A>GBG;8-A<I8EF<GLJ85C4:8<A9BE@<A:FGH

78AGF;BJGB9<?85<4F E8?4G87<A6<78AG6B@C?4<AGF 

             64@CHFABG<68<AG;8.<E:<A<4,86;4<?LF<@<?4E?LCEB@BG87G;8Q+88

+B@8G;<A:+4L+B@8G;<A:R64@C4<:A<A4E8?84F8G<G?87Q1F2GH78AGF8A6BHE4:87GBE8

CBEG<A6<78AGFB95<4F R

             9G8E (."  64HF87 G;8 -A<I8EF<GL GB FJ<G6; GB 4 E8@BG8 ?84EA<A:

9BE@4G<A+CE<A:  G;8-A<I8EF<GLF8AG4@8FF4:8E8@<A7<A:CEB98FFBEFG;4GG;8L

64AHF8G;8QBA?<A8E8CBEG<A:9BE@R<9G;8LQB5F8EI8BE8KC8E<8A68J;4G1G;8L258?<8I8

GB5845<4F E8?4G87<A6<78AG<AIB?I<A:FGH78AGF R"A4F<@<?4E@8FF4:8477E8FF87GBG;8

FGH78AG 5B7L F8A<BE -A<I8EF<GL 47@<A<FGE4GBEF 8A6BHE4:87 FGH78AGF GB Q6BAG46G G;8

84AB9+GH78AGFJ<G;6BA68EAF45BHG5<4F E8?4G87<A6<78AGF R

            ,;8-A<I8EF<GLTF6BAG<AHBHFCEB@BG<BAB9<GF5<4F <A6<78AGE8CBEG<A:FLF

G8@;4F;474A89986G ,J8AGL A<A85<4F <A6<78AG6B@C?4<AGFJ8E89<?87<A+CE<A:  

,;4GAH@58E<A6E84F87GBE8CBEGF<A4?? E8CBEGF<A+CE<A: 4A7

E8CBEGF<A4??  

            -A78EG;8-A<I8EF<GLTFB78B9BA7H6GQ1924<?HE8GB6B@C?LJ<G;4E8

DH8FG 4A7 7<E86G<I8F B9 HA<I8EF<GL B99<6<4?F 46G<A: J<G;<A G;8F6BC8 B9 G;8<E 4HG;BE<GL

<A6?H7<A:5HGABG?<@<G87GBO94<?HE8GB>88CBE4GG8A74E8DH<E87@88G<A:R<FQCEB;<5

<G876BA7H6GR4A7FH5=86GF4FGH78AGGB9BE@4?7<F6<C?<A8 




                                               
Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 23 of 50 Pageid#: 23




 $!(%/!+,%-01,(")+'-%)(&-%/%-%!,)&%0
           (A H:HFG     G;8 -A<I8EF<GL <FFH87 G;8 ?4G8FG I8EF<BA B9 )B?<6L

 G<G?87+4?8F+B?<6<G4G<BA4A77I8EG<F<A:BA4@CHF )B?<6L <@CBF8F4AH@

58EB9E8FGE<6G<BAFBAFGH78AGFT45<?<GLGB47I8EG<F88I8AGF:4G;8EC8G<G<BAF4A77<FGE<5HG8

<A9BE@4G<BA4??<G8E4GHE8 "G:BI8EAFQ4??OFGH78AGFR4A74CC?<8FQBAG;8.<E:<A<4,86;

64@CHF4A7<AHA<I8EF<GL946<?<G<8F R

           )B?<6L E8DH<E8FFGH78AGFGBB5G4<AQCE<BEJE<GG8A4HG;BE<M4G<BAR58

9BE88A:4:<A:<AQ<A9BE@4G<BA4?46G<I<G<8F R"G789<A8FQ<A9BE@4G<BA4?46G<I<G<8FR4FQG;8

7<FGE<5HG<BAB9?<G8E4GHE84A7 BEC8G<G<BA<A:9BEF<:A4GHE8FJ;8E8AB988<F<AIB?I87ABE

7BA4G<BAFBE6BAGE<5HG<BAFFBH:;G R-A<I8EF<GLB99<6<4?FQG4>8<AGB466BHAGBI8E4??64@

CHFF498GL4A7F86HE<GL4ALFC86<4?6<E6H@FG4A68FE8?4G<A:GBHA<I8EF<GL46G<I<G<8F4A7

G;8<@C46GFH6;46G<I<GL@4L;4I8BAG;8HA<I8EF<GLRJ;8A@4><A:Q17286<F<BAFE8:4E7

<A:E8DH8FGFRGB7<FGE<5HG8?<G8E4GHE8BEGBC8G<G<BA9BEF<:A4GHE8F 

           "A477<G<BAGBE8DH<E<A:CE<BE4HG;BE<M4G<BA)B?<6L CEB;<5<GFQ<A9BE

@4G<BA4?46G<I<G<8FRG;4G4E8ABGQFCBAFBE875L4HA<I8EF<GL 499<?<4G87BE:4A<M4G<BA R)HG

7<998E8AG?LFGH78AGFJ;B4E8ABGFCBAFBE875L4-A<I8EF<GL 499<?<4G87BE:4A<M4G<BA4E8

9BE5<778A9EB@7<FGE<5HG<A:?<G8E4GHE8BEC8G<G<BA<A:9BEF<:A4GHE8FBA64@CHF 

           .<B?4G<BAFB9)B?<6L Q4E846G<BA45?8HA78EG;8+GH78AGB78B9BA

7H6GR4A764A?847GBQF4A6G<BA1F2 R




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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 24 of 50 Pageid#: 24




 $! ""!-)"-$!(%/!+,%-01,)&%%!,)(*!!$ %+,-1,!'!+,
           +C886;<EFGTF@8@58EFJ;B4GG8A7G;8-A<I8EF<GL4E8FH998E<A:6BA6E8G8

<A=HE<8F4F47<E86GE8FH?GB9G;8-A<I8EF<GLTFHA6BAFG<GHG<BA4?CB?<6<8F4A746G<BAF ,;8F8

FGH78AGFJ4AGGB8A:4:8<AFC886;G;4G<F6BI8E875LG;8-A<I8EF<GLTF;4E4FF@8AGCB?<

6<8F6B@CHG8ECB?<6L5<4F <A6<78AGFCB?<6L4A7<A9BE@4G<BA4? 46G<I<G<8FCB?<6L5HGG;8L

6E87<5?L984EG;4GG;88KCE8FF<BAB9G;8<E788C?L;8?7I<8JFJ<??586BAF<78E87Q5<4F87R

Q;4E4FF<A:RQHAJ4EE4AG87RQ<AG<@<74G<A:R4A7G;8?<>8 

           (A8+C886;<EFG@8@58EQ+GH78AGR<F4=HA<BE4GG;8-A<I8EF<GL 

            +GH78AG<FCB?<G<64??L6BAF8EI4G<I84A7;B?7FI<8JFG;4G4E8HACBCH?4E

6BAGEBI8EF<4?4A7<AG;8@<ABE<GLBA64@CHF 

            +GH78AG<FFGEBA:?L4:4<AFG499<E@4G<I846G<BA<A6B??8:847@<FF<BAF !8

58?<8I8FG;4G<A7<I<7H4?FF;BH?75847@<GG87GB6B??8:85864HF8B9@8E<GABGG;86B?BE

B9G;8<EF><A 

           +GH78AG58?<8I8FG;4G?46>%<I8F&4GG8E;4F;474G8EE<5?8<@C46GBA

FB6<8GL !858?<8I8FG;4GG;8LTI8G4>8AGBAFB97BA4G<BAF4A7;4I8ABG;8?C87BHG5?46>

6B@@HA<G<8F !8G;<A>FG;8BE:4A<M4G<BA;4F64HF87G;878FGEH6G<BAB96B@@HA<G<8F

4A75HF<A8FF8FE4G;8EG;4A;8?C5E<A:45BHGCBF<G<I86;4A:8 

           +GH78AG  <F FGEBA:?L 4:4<AFG 45BEG<BA  !8 58?<8I8F G;4G JB@8A F;BH?7

;4I8ABE<:;GGB><??4A<AAB68AG6;<?7 

           +GH78AG58?<8I8FG;4G;H@4A58<A:F4E86E84G878<G;8E@4?8BE98@4?8 

!858?<8I8FC8BC?8B9G8A6;4A:8G;8<E:8A78E<78AG<GL5864HF8G;8LJ4AGGB58ABG<687


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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 25 of 50 Pageid#: 25




BE 58 C4EG B9 4 :EBHC 5864HF8 B9 6;<?7;BB7 GE4H@4 BE 5864HF8 G;8L J4AG GB 9<??4A

8@CGLFCBG<AG;8<E?<I8F !87B8FATGJ4AGGB589BE687GBHF8FB@8BA8TFQCE898EE87

CEBABHAFRF<@C?L5864HF8G;4GC8EFBA58?<8I8FG;4G;<FBE;8EQGEHG;R<AIB?I8F58<A:

QABA 5<A4EL R

             +GH78AG7B8FABGFHCCBEG:4L@4EE<4:8 !8G;<A>F<G?847FGB4F?<CC8EL

F?BC8 !8G;<A>F<GJ<???847GBFB6<8GL58<A:9BE687GB4668CG@4EE<4:8F4@BA:@H?G<C?8

C8BC?8BEFB@8G;<A:8I8AJBEF8 +GH78AG<F4;E<FG<4AFB;<F58?<89B9@4EE<4:84?FB

FG8@F9EB@;<F94<G; 

             +GH78AG<FFGEBA:?L4:4<AFG<??8:4?<@@<:E4G<BA4A7FHCCBEGFG;8BE78E

/4?? !858?<8I8FG;4GJ8A887GBFGBCG;89?BJB9<??8:4?<@@<:E4G<BA<AGBG;<F6BHAGEL 

             +GH78AG4?FBFGEBA:?L58?<8I8F<A:HAE<:;GF !858?<8I8FG;4GBHE+86BA7

@8A7@8AGE<:;GF4E878F<:A87GBCE8I8AGGLE4AAL 

             +GH78AG8AEB??87<AG;8-A<I8EF<GL5864HF8;8J4AG87GB?84EA<A46;4?

?8A:<A: 8AI<EBA@8AG J;8E8 FGH78AGF 4A7 946H?GL 4E8 9E88 GB 8A:4:8 <A ?<I8?L 984E?8FF

7854G84A778?<58E4G<BA 

             +GH78AGJ4AGFGB8A:4:8<ABC8A4A7EB5HFG<AG8??86GH4?7854G8J<G;;<F

98??BJFGH78AGF45BHGG;8F8GBC<6F<AG;86?4FFEBB@<ABG;8E4E84FB964@CHFBA?<A8

4A7<AG;8<GLB9?46>F5HE: 

               864HF8;8;4FFGEBA:I<8JFBAG;8F8<FFH8F+GH78AGJ4AGFGBFC84>

C4FF<BA4G8?L 4A7 E8C84G87?L 45BHG G;8@  !8 J4AGF GB CB<AG BHG G;8 9?4JF <A 98??BJ




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Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 26 of 50 Pageid#: 26




FGH78AGFT4E:H@8AGF4A78A6BHE4:8G;8@GB6;4A:8G;8<E@<A7FBE4G4@<A<@H@GB

HA78EFG4A7;<FI<8JF 

            HGG;8-A<I8EF<GLTF;4E4FF@8AGCB?<6<8F6B@CHG8ECB?<6L5<4F E8?4G87<A

6<78AGCB?<6L4A7<A9BE@4G<BA4? 46G<I<G<8FCB?<6L@4>8+GH78AGE8?H6G4AGGBBC8A?L

8KCE8FF;<FBC<A<BAF 

            +GH78AG7B8FABG9H??L8KCE8FF;<@F8?9BEG4?>45BHG68EG4<A<FFH8F58

64HF8;8984EFG;4GF;4E<A:;<F58?<89F@4L586BAF<78E87Q7<F6E<@<A4GBEL;4E4FF@8AG R

!8984EFG;4GBG;8EFGH78AGFJ<??9<A7;<FI<8JFQ<A4CCEBCE<4G8RBEQ<AG<@<74G<A:RBE

6?4<@G;4G;<FI<8JFQ<AG8E98E812J<G;RG;8<E87H64G<BA4?BCCBEGHA<G<8F +GH78AG58

?<8I8FG;4G@4ALB9G;8GBC<6FG;4G;8J4AGFGB477E8FF6BH?784F<?L586BAF<78E87Q7<F

6E<@<A4GBELRHA78EG;8-A<I8EF<GLTF789<A<G<BAB9Q7<F6E<@<A4GBEL;4E4FF@8AG R+GH78AG

TF984EF4E8:EBHA787<A;<FBJAC8EFBA4?8KC8E<8A68FBA64@CHF 

            +GH78AGTF984EF4E84@C?<9<875LG;8946GG;4GG;8-A<I8EF<GL64ACHA<F;

;<@ABGBA?L9BE6B@@<GG<A:Q7<F6E<@<A4GBEL;4E4FF@8AGR;<@F8?95HG4?FB9BE58<A:

CE8F8AG7HE<A:FB@8BA88?F8TFQ7<F6E<@<A4GBEL;4E4FF@8AGR<A4@4AA8EG;4G4??8:87?L

Q6BA7BA81F2FHCCBEG1F2BE8A6BHE4:81F2G;8I<B?4G<BA R

            +GH78AG4?FBJ4AGFGBHF8G;8-A<I8EF<GL8@4<?FLFG8@GB6BAG46GBG;8E

FGH78AGF<AFHCCBEGB96BAF8EI4G<I8<A<G<4G<I8F4A7CB?<G<64?64A7<74G8F4A7GBBCCBF8

6BAGEBI8EF<4?FGH78AG :BI8EA@8AGCEBCBF4?F HG+GH78AGE89E4<AF5864HF8;8984EF

G;4G7B<A:FBJ<??586BAF<78E874I<B?4G<BAB9G;8668CG45?8-F8+G4A74E74A7.<E:<A<4

,86;)B?<6L     4A7G;4G;8J<???BF8;<FA8GJBE>CE<I<?8:8FBE8I8A94687<F6<C?<A4EL

                                           
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 27 of 50 Pageid#: 27




F4A6G<BAF4F4E8FH?G +GH78AG984EFG;4GBG;8EFGH78AGFJ<??6;4E46G8E<M88@4<?F4FF8EG

<A:;<FI<8JF4FQ<AG<@<74G<A:RQ;4E4FF<A:RBEQHAJ4EE4AG87R4A7Q4AABL<A:RBEE8

CBEG;<@9BEF8A7<A:8@4<?F9BEQC4EG<F4ACB?<G<64?CHECBF8F R

             +GH78AG4?FB7B8FABG9H??L8KCE8FF;<@F8?9BEG4?>45BHG68EG4<A<FFH8F

5864HF8;8984EFG;4GBG;8EFGH78AGF946H?GL@8@58EFBEBG;8EFJ<??E8CBEG;<@GB(+

9BE6B@@<GG<A:4Q5<4F E8?4G87R<A6<78AG +GH78AGJBEE<8FG;4GG;8E84E8BG;8EFGH78AGF

J;B J<?? Q64G6; ;<@R 8A:4:<A: <A Q5<4F87R FC886; 4A7 G;4G G;8 -A<I8EF<GL J<?? G4>8

46G<BA4:4<AFG;<@ BE8K4@C?8+GH78AG<F49E4<7G;4G(+J<??>88C4E86BE7BA

;<@F;4E8G;84??8:4G<BAFJ<G;BG;8EF4GG;8-A<I8EF<GL64??;<@<A9BE@88G<A:FBEE898E

G;84??8:4G<BAFGBG;8(99<68B9+GH78AGBA7H6GG;8(99<68B9DH<GL4A7668FF<5<?<GL

BEG;8.<E:<A<4,86;)B?<688C4EG@8AG 

             <A4??L+GH78AGJ4AGFGB<A78C8A78AG?L7<FGE<5HG8?<G8E4GHE845BHG6BA

F8EI4G<I864HF8FBA64@CHF4A7:4G;8EF<:A4GHE8F9BEC8G<G<BAF8FC86<4??L<A;<:; GE499<6

4E84FB964@CHFG;4G4E8BC8AGBG;8CH5?<6 !8E89E4<AF9EB@7B<A:8<G;8EB9G;BF8

G;<A:F;BJ8I8E5864HF8;8984EFG;4G;8J<??58CHA<F;879BE8A:4:<A:<AQ<A9BE@4

G<BA4?46G<I<G<8FRJ<G;BHGG;8FCBAFBEF;<CB94QHA<I8EF<GL 499<?<4G87BE:4A<M4G<BA R

             ABG;8E+C886;<EFG@8@58EQ+GH78AGR<F4F8A<BE4GG;8-A<I8EF<GL 

             +GH78AG<FCB?<G<64??L6BAF8EI4G<I84A7;B?7FI<8JFG;4G4E8HACBCH?4E

6BAGEBI8EF<4?4A7<AG;8@<ABE<GLBA64@CHF 

             +GH78AG58?<8I8FG;4G499<E@4G<I846G<BA<FE8I8EF8E46<F@ !858?<8I8F

G;4GJ;8A6B??8:8FF8:E8:4G8;BHF<A:4A7BG;8E46G<I<G<8F5L4FGH78AGTFF><A6B?BEG;4G

                                             
Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 28 of 50 Pageid#: 28




<FE46<F@CHE84A7F<@C?8 +GH78AG58?<8I8FG;4G4FGH78AGF;BH?75847@<GG87GB4

HA<I8EF<GL5864HF8B9@8E<GABG5864HF8B9G;86B?BEB9;<FBE;8EF><A 

             +GH78AG58?<8I8FG;4GG;8?46>%<I8F&4GG8EBE:4A<M4G<BA<F4F64@G;4G

;4FG4>8A@BA8L9EB@C8BC?8J;B58?<8I8G;8L4E87BA4G<A:GB464HF84A79HAA8?87<G

GBCB?<G<6<4AF !858?<8I8FG;4G?46>%<I8F&4GG8E4F4@BI8@8AG<F64HF<A:;4G8<AG;8

A4@8B9:8GG<A:E<7B9;4G8 HG+GH78AG58?<8I8FG;4GBG;8EFGH78AGFJBH?76BAF<78E

;<@4E46<FG9BEIB<6<A:G;BF858?<89F 

             +GH78AGG;<A>FG;8><??<A:B94ABG;8E;H@4AG;EBH:;45BEG<BA<FJEBA: 

!858?<8I8FG;4GJB@8A4E8ABG><??<A:4Q98GHFRBE4Q5HA6;B968??FRG;8L4E8><??<A:

4C8EFBA !858?<8I8FG;4GJB@8AF;BH?7ABG584??BJ87GB45BEGG;8<E545<8F 

             +GH78AG58?<8I8FG;4G4C8EFBA<F8<G;8E@4?8BE98@4?8 +GH78AGG;<A>F

<94C8EFBA<F5BEA4@4?8;8J<??4?J4LF584@4?8P8I8A<9;8Q988?FR?<>8498@4?8 

+GH78AG7B8FATGJ4AGGB589BE687GB64??FB@8BA84Q;8RBE4QF;8RJ;8AG;4G<FABG

G;8C8EFBATF5<B?B:<64?F8K !8G;<A>F<GTFG8EE<5?8G;4GFB@8@8A4E84??BJ87GBC?4L

JB@8ATFFCBEGF5864HF8G;8L6?4<@GB58JB@8A 

             +GH78AG58?<8I8FG;4GJ8@HFGFGBCG;89?BJB9<??8:4?<@@<:E4AGF<AGB

G;<F6BHAGEL !89<A7F<G<A6E87<5?L7<F;84EG8A<A:G;4G<??8:4?<@@<:E4AGF4E8:8GG<A:<A

C8EFBA87H64G<BA9BE9E88J;<?8@8E<64A6<G<M8AF4E8ABG +GH78AGG;<A>F@8E<64A

6<G<M8AFF;BH?758CE<BE<G<M87BI8E<??8:4?<@@<:E4AGFJ;B7BABGC4LG4K8F4A77BATG

6BAGE<5HG8GBFB6<8GL 




                                            
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 29 of 50 Pageid#: 29




             <A4??L+GH78AGFGEBA:?LFHCCBEGFG;8+86BA7@8A7@8AG !8G;<A>F

;8F;BH?75845?8GBBJAJ;4G8I8E:HA;8J4AGF<ABE78EGB7898A7;<@F8?9 

             +GH78AG8AEB??87<AG;8-A<I8EF<GL5864HF8;8J4AG87GB?84EA<A46;4?

?8A:<A: 8AI<EBA@8AG J;8E8 FGH78AGF 4A7 946H?GL 4E8 9E88 GB 8A:4:8 <A ?<I8?L 984E?8FF

7854G84A778?<58E4G<BA 

             +GH78AGJ4AGFGB8A:4:8<ABC8A4A7EB5HFG<AG8??86GH4?7854G8J<G;;<F

98??BJFGH78AGF45BHGG;8F8GBC<6F<AG;86?4FFEBB@<ABG;8E4E84FB964@CHFBA?<A8

4A7<AG;8<GLB9?46>F5HE: 

             864HF8;8;4FFGEBA:I<8JFBAG;8F8<FFH8F+GH78AGJ4AGFGBFC84>

C4FF<BA4G8?L4A7E8C84G87?L45BHGG;8@ !8J4AGFGBCB<AGBHGG;89?4JF<A98??BJFGH

78AGFT4E:H@8AGF4A78A6BHE4:8G;8@GB6;4A:8G;8<E@<A7FBE4G4@<A<@H@GBHA

78EFG4A7;<FI<8JF 

             HG G;8 -A<I8EF<GLTF7<F6E<@<A4GBEL ;4E4FF@8AG CB?<6L 6B@CHG8E CB?<6L

5<4F E8?4G87<A6<78AGFCB?<6L4A7<A9BE@4G<BA4? 46G<I<G<8FCB?<6L@4>8+GH78AGE8?H6

G4AGGBBC8A?L8KCE8FF;<FBC<A<BAF 

             +GH78AG7B8FABG9H??L8KCE8FF;<@F8?9BEG4?>45BHG68EG4<A<FFH8F58

64HF8;8984EFG;4GF;4E<A:;<F58?<89F@4L586BAF<78E87Q7<F6E<@<A4GBEL;4E4FF@8AG R

!8984EFG;4GBG;8EFGH78AGFJ<??9<A7;<FI<8JFQ<A4CCEBCE<4G8RBEQ<AG<@<74G<A:RBE

6?4<@G;4G;<FI<8JFQ<AG8E98E812J<G;RG;8<E87H64G<BA4?BCCBEGHA<G<8F +GH78AG58

?<8I8F G;4G @4AL B9 G;8 GBC<6F G;4G ;8 J4AGF GB 477E8FF 6BH?7 84F<?L 58 6BAF<78E87




                                              
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 30 of 50 Pageid#: 30




Q7<F6E<@<A4GBELRHA78EG;8-A<I8EF<GLTF789<A<G<BAB9Q7<F6E<@<A4GBEL;4E4FF@8AG R+GH

78AGTF984EF4E8:EBHA787<A;<FBJAC8EFBA4?8KC8E<8A68FBA64@CHF 

             +GH78AGTF984EF4E84@C?<9<875LG;8946GG;4GG;8-A<I8EF<GL64ACHA<F;

;<@ABGBA?L9BE6B@@<GG<A:Q7<F6E<@<A4GBEL;4E4FF@8AGR;<@F8?95HG4?FB9BE58<A:

CE8F8AG7HE<A:FB@8BA88?F8TFQ7<F6E<@<A4GBEL;4E4FF@8AGR<A4@4AA8EG;4G4??8:87?L

Q6BA7BA81F2FHCCBEG1F2BE8A6BHE4:81F2G;8I<B?4G<BA R

             +GH78AG4?FBJ4AGFGBHF8G;8-A<I8EF<GL8@4<?FLFG8@GB6BAG46GBG;8E

FGH78AGF<AFHCCBEGB96BAF8EI4G<I8<A<G<4G<I8F4A7CB?<G<64?64A7<74G8F4A7GBBCCBF8

6BAGEBI8EF<4?FGH78AG :BI8EA@8AGCEBCBF4?F HG+GH78AGE89E4<AF5864HF8;8984EF

G;4G7B<A:FBJ<??586BAF<78E874I<B?4G<BAB9G;8668CG45?8-F8+G4A74E74A7.<E:<A<4

,86;)B?<6L       4A7G;4G;8J<???BF8;<FA8GJBE>CE<I<?8:8FBE8I8A94687<F6<C?<A4EL

F4A6G<BAF4F4E8FH?G +GH78AG984EFG;4GBG;8EFGH78AGFJ<??6;4E46G8E<M88@4<?F4FF8EG

<A:;<FI<8JF4FQ<AG<@<74G<A:RQ;4E4FF<A:RBEQHAJ4EE4AG87R4A7Q4AABL<A:RBEE8

CBEG;<@9BEF8A7<A:8@4<?F9BEQC4EG<F4ACB?<G<64?CHECBF8F R

             +GH78AG4?FB7B8FABG9H??L8KCE8FF;<@F8?9BEG4?>45BHG68EG4<A<FFH8F

5864HF8;8984EFG;4GBG;8EFGH78AGF946H?GL@8@58EFBEBG;8EFJ<??E8CBEG;<@GB(+

9BE6B@@<GG<A:4Q5<4F E8?4G87R<A6<78AG +GH78AGJBEE<8FG;4GG;8E84E8BG;8EFGH78AGF

J;B J<?? Q64G6; ;<@R 8A:4:<A: <A Q5<4F87R FC886; 4A7 G;4G G;8 -A<I8EF<GL J<?? G4>8

46G<BA4:4<AFG;<@ BE8K4@C?8+GH78AG<F49E4<7G;4G(+J<??>88C4E86BE7BA

;<@F;4E8G;84??8:4G<BAFJ<G;BG;8EF4GG;8-A<I8EF<GL64??;<@<A9BE@88G<A:FBEE898E




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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 31 of 50 Pageid#: 31




G;84??8:4G<BAFGBG;8(99<68B9+GH78AGBA7H6GG;8(99<68B9DH<GL4A7668FF<5<?<GL

BEG;8.<E:<A<4,86;)B?<688C4EG@8AG 

             <A4??L+GH78AGJ4AGFGB<A78C8A78AG?L7<FGE<5HG8?<G8E4GHE845BHG6BA

F8EI4G<I864HF8FBA64@CHF4A7:4G;8EF<:A4GHE8F9BEC8G<G<BAF8FC86<4??L<A;<:; GE499<6

4E84FB964@CHFG;4G4E8BC8AGBG;8CH5?<6 !8E89E4<AF9EB@7B<A:8<G;8EB9G;BF8

G;<A:F;BJ8I8E5864HF8;8984EFG;4G;8J<??58CHA<F;879BE8A:4:<A:<AQ<A9BE@4

G<BA4?46G<I<G<8FRJ<G;BHGG;8FCBAFBEF;<CB94QHA<I8EF<GL 499<?<4G87BE:4A<M4G<BA R

             ABG;8E+C886;<EFG@8@58EQ+GH78AGR<F4=HA<BE4GG;8-A<I8EF<GL 

             +GH78AG<FQCB?<G<64??L6BAF8EI4G<I8 ?<58EG4E<4AR4A7;B?7FCB?<G<64?58

?<89FG;4G4E8HACBCH?4E6BAGEBI8EF<4?4A7<AG;8@<ABE<GLBA64@CHF 

             +GH78AG  7B8F ABG FHCCBEG G;8 ?46> %<I8F &4GG8E @BI8@8AG  !8

FGEBA:?L7<F4:E88FJ<G;@4ALB9G;8CBF<G<BAF<G;4FG4>8A !8G;<A>F4???<I8F@4GG8E4A7

G;4GAB?<98@4GG8EF@BE8G;4A4ABG;8E 

             +GH78AG  <F FGEBA:?L 4:4<AFG 45BEG<BA  !8 58?<8I8F G;4G JB@8A F;BH?7

;4I8ABE<:;GGB><??4A<AAB68AG6;<?7 

             +GH78AG  58?<8I8F G;8E8 4E8 BA?L GJB :8A78EF @4?8 4A7 98@4?8  !8

7B8FATG J4AG GB 58 9BE687 GB 64?? FB@8BA8 4 Q;<@R BE 4 Q;8ER BE QG;8LR BE QG;8@R

5864HF8G;4GC8EFBA6?4<@FGB;4I84A8J:8A78E<78AG<GL !8<FFGEBA:?L4:4<AFG4??BJ<A:

6;<?7E8AGBQ6;BBF8RG;8<E:8A78E4A7;4I8;BE@BA8F4A76;8@<64?FCH@C87<AGBG;8<E

5B7<8F !858?<8I8FG;4GG;8F8><7F4E8LBHA:4A77BABG>ABJ4AL58GG8E 




                                               
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 32 of 50 Pageid#: 32




             +GH78AG7<F4:E88FJ<G;:4L@4EE<4:8BA4C8EFBA4??8I8?4A7G;<A>F<G<F

JEBA: 

             +GH78AG  58?<8I8F G;4G J8 A887 4 5BE78E J4?? 4A7 5BE78E F86HE<GL  !8

58?<8I8FG;4GJ864ATG;4I846BHAGELJ<G;BHG5BE78EF "??8:4?<@@<:E4AGF4E86EBFF<A:

G;85BE78E74<?L4A74E8:8GG<A:J8?94E8J<G;BHGC4L<A:G4K8F 

             +GH78AGFGEBA:?LFHCCBEGFG;8+86BA7@8A7@8AG4A7<F4:4<AFG:HA

6BAGEB? !858?<8I8FG;4GG;8:BI8EA@8AGF;BH?7ABG584??BJ87GB>88C?B:FB9C8BC?8

J;B5HL:HAF 

             +GH78AG8AEB??87<AG;8-A<I8EF<GL5864HF8;8J4AG87GB?84EA<A46;4?

?8A:<A: 8AI<EBA@8AG J;8E8 FGH78AGF 4A7 946H?GL 4E8 9E88 GB 8A:4:8 <A ?<I8?L 984E?8FF

7854G84A778?<58E4G<BA 

             +GH78AGJ4AGFGB8A:4:8<ABC8A4A7EB5HFG<AG8??86GH4?7854G8J<G;;<F

98??BJFGH78AGF45BHGG;8F8GBC<6F<AG;86?4FFEBB@<ABG;8E4E84FB964@CHFBA?<A8

4A7<AG;8<GLB9?46>F5HE: 

             864HF8;8;4FFGEBA:I<8JFBAG;8F8<FFH8F+GH78AGJ4AGFGBFC84>

C4FF<BA4G8?L 4A7 E8C84G87?L 45BHG G;8F8 @4GG8EF  !8 J4AGF GB CB<AG BHG G;8 9?4JF <A

98??BJFGH78AGFT4E:H@8AGF4A78A6BHE4:8G;8@GB6;4A:8G;8<E@<A7FBE4G4@<A<

@H@GBHA78EFG4A7;<FI<8JF 

             HG G;8 -A<I8EF<GLTF7<F6E<@<A4GBEL ;4E4FF@8AG CB?<6L 6B@CHG8E CB?<6L

5<4F E8?4G87<A6<78AGFCB?<6L4A7<A9BE@4G<BA4? 46G<I<G<8FCB?<6L@4>8+GH78AGE8?H6

G4AGGBBC8A?L8KCE8FF;<FBC<A<BAF 

                                               
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 33 of 50 Pageid#: 33




             +GH78AG7B8FABG9H??L8KCE8FF;<@F8?9BEG4?>45BHG68EG4<A<FFH8F58

64HF8;8984EFG;4GF;4E<A:;<F58?<89F@4L586BAF<78E87Q7<F6E<@<A4GBEL;4E4FF@8AG R

!8984EFG;4GBG;8EFGH78AGFJ<??9<A7;<FI<8JFQ<A4CCEBCE<4G8RBEQ<AG<@<74G<A:RBE

6?4<@G;4G;<FI<8JFQ<AG8E98E812J<G;RG;8<E87H64G<BA4?BCCBEGHA<G<8F +GH78AG58

?<8I8FG;4G@4ALB9G;8GBC<6F;8J4AGFGB477E8FF6BH?784F<?L586BAF<78E87Q7<F6E<@

<A4GBELRHA78EG;8-A<I8EF<GLTF789<A<G<BAB9Q7<F6E<@<A4GBEL;4E4FF@8AG R+GH78AGTF

984EF4E8:EBHA787<A;<FBJAC8EFBA4?8KC8E<8A68FBA64@CHF 

             +GH78AGTF984EF4E84@C?<9<875LG;8946GG;4GG;8-A<I8EF<GL64ACHA<F;

;<@ABGBA?L9BE6B@@<GG<A:Q7<F6E<@<A4GBEL;4E4FF@8AGR;<@F8?95HG4?FB9BE58<A:

CE8F8AG7HE<A:FB@8BA88?F8TFQ7<F6E<@<A4GBEL;4E4FF@8AGR<A4@4AA8EG;4G4??8:87?L

Q6BA7BA81F2FHCCBEG1F2BE8A6BHE4:81F2G;8I<B?4G<BA R

             +GH78AG4?FBJ4AGFGBHF8G;8-A<I8EF<GL8@4<?FLFG8@GB6BAG46GBG;8E

FGH78AGF<AFHCCBEGB96BAF8EI4G<I8<A<G<4G<I8F4A7CB?<G<64?64A7<74G8F4A7GBBCCBF8

6BAGEBI8EF<4?FGH78AG :BI8EA@8AGCEBCBF4?F HG+GH78AGE89E4<AF5864HF8;8984EF

G;4G7B<A:FBJ<??586BAF<78E874I<B?4G<BAB9G;8668CG45?8-F8+G4A74E74A7.<E:<A<4

,86;)B?<6L       4A7G;4G;8J<???BF8;<FA8GJBE>CE<I<?8:8FBE8I8A94687<F6<C?<A4EL

F4A6G<BAF4F4E8FH?G +GH78AG6E87<5?L984EFG;4GBG;8EFGH78AGFJ<??6;4E46G8E<M88@4<?F

4FF8EG<A:;<FI<8JF4FQ<AG<@<74G<A:RQ;4E4FF<A:RBEQHAJ4EE4AG87R4A7Q4AABL<A:R

BEE8CBEG;<@9BEF8A7<A:8@4<?F9BEQC4EG<F4ACB?<G<64?CHECBF8F R

             +GH78AG4?FB7B8FABG9H??L8KCE8FF;<@F8?9BEG4?>45BHG68EG4<A<FFH8F

5864HF8 ;8 984EF G;4G BG;8E FGH78AGF 946H?GL @8@58EF BE BG;8EF J<?? E8CBEG ;<@ 9BE

                                              
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 34 of 50 Pageid#: 34




6B@@<GG<A:4Q5<4F E8?4G87R<A6<78AG +GH78AGJBEE<8FG;4GG;8E84E8BG;8EFGH78AGF

J;B J<?? Q64G6; ;<@R 8A:4:<A: <A Q5<4F87R FC886; 4A7 G;4G G;8 -A<I8EF<GL J<?? G4>8

46G<BA4:4<AFG;<@ BE8K4@C?8+GH78AG<F49E4<7G;4G(+J<??>88C4E86BE7BA

;<@F;4E8G;84??8:4G<BAFJ<G;BG;8EF4GG;8-A<I8EF<GL64??;<@<A9BE@88G<A:FBEE898E

G;84??8:4G<BAFGBG;8(99<68B9+GH78AGBA7H6GG;8(99<68B9DH<GL4A7668FF<5<?<GL

BEG;8.<E:<A<4,86;)B?<688C4EG@8AG 

             <A4??L+GH78AGJ4AGFGB<A78C8A78AG?L7<FGE<5HG8?<G8E4GHE845BHG6BA

F8EI4G<I864HF8FBA64@CHF4A7:4G;8EF<:A4GHE8F9BEC8G<G<BAF8FC86<4??L<A;<:; GE499<6

4E84FB964@CHFG;4G4E8BC8AGBG;8CH5?<6 !8E89E4<AF9EB@7B<A:8<G;8EB9G;BF8

G;<A:F;BJ8I8E5864HF8;8984EFG;4G;8J<??58CHA<F;879BE8A:4:<A:<AQ<A9BE@4

G<BA4?46G<I<G<8FRJ<G;BHGG;8FCBAFBEF;<CB94QHA<I8EF<GL 499<?<4G87BE:4A<M4G<BA R

             +GH78AGF4A74E8ABG4?BA8 ,8??<A:?LBA?LGJ8AGLC8E68AGB9.<E

:<A<4,86;FGH78AGFJ;BE8FCBA787GB4E868AG 4??HCFHEI8LF4<7G;8L98?G6B@9BEG45?8

8KCE8FF<A:<784F<A6?4FFG;4GQ4E8CEB545?LBA?L;8?75L4@<ABE<GLB9C8BC?8 R

                                           
                             %)&-%)()"-$! %+,-'!( '!(-
                             %,+%'%(-)+0+,,'!(-)&%0
             )?4<AG<99 E8C84GF 4A7 E84??8:8F 846; B9 G;8 CE<BE 4??8:4G<BAF <A G;<F 6B@

C?4<AG 

             ,;8<EFG@8A7@8AGCEB;<5<GFCH5?<6HA<I8EF<G<8F9EB@47BCG<A:E8:H?4

G<BAFB9FGH78AGFG;4G4E8QFB5EB474FGB6;<??G;88K8E6<F8B99E88FC886;4A78KCE8F

F<BA R"-#1/35 &.3*$)*("..*5 7  G;<E   Q864HF8<EFG


                                                 
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 35 of 50 Pageid#: 35




@8A7@8AG9E887B@FA8875E84G;<A:FC468GBFHEI<I84FG4G8@4LE8:H?4G8<AG;84E84

BA?LJ<G;A4EEBJFC86<9<6<GL R//%*.(5 *,2/. - +    CH5?<6HA<

I8EF<GL@HFG64E89H??L6E49G<GFE8:H?4G<BAFQGBCHA<F;BA?LHACEBG86G87FC886;4A7ABG

58FHF68CG<5?8B94CC?<64G<BAGBCEBG86G878KCE8FF<BA R% E8:H?4G<BA<FHA6BAFG<GH

G<BA4??L BI8E5EB47 <9 Q4 FH5FG4AG<4? AH@58E B9 <GF 4CC?<64G<BAF 4E8 HA6BAFG<GHG<BA4? R

.*3&%3"3&253&5&.2- +          ,;8BHEG@HFG9<A7FH6;E8:H?4G<BAF

946<4??LHA6BAFG<GHG<BA4?5864HF8QG;8G;E84GB98A9BE68@8AGB94ABI8E5EB471E8:H?4

G<BA2@4L78G8EBES6;<??T6BAFG<GHG<BA4??LCEBG86G87FC886;R4FQ1@24ALC8EFBAFE4G;8E

G;4AHA78EG4>8G;86BAF<78E45?85HE78A4A7FB@8G<@8FE<F>B9I<A7<64G<A:G;8<EE<:;GF

G;EBH:;64F8 5L 64F8?<G<:4G<BAJ<??6;BBF8F<@C?LGB45FG4<A9EB@CEBG86G87FC886;

;4E@<A:ABGBA?LG;8@F8?I8F5HGFB6<8GL4F4J;B?8J;<6;<F78CE<I87B94AHA<A;<5<G87

@4E>8GC?468B9<784F R*1(*.*"5*$+2- +     

             Q,;8E8<FAB64G8:BE<64?S;4E4FF@8AG8K68CG<BATGBG;8<EFG@8A7@8AGTF

9E88FC886;6?4HF8 R"7&53"3& /,, 1&"$)*23  7  7<E                 

?<GB#  *4G;8EQ1G2;8E<:;GGBCEBIB>8B998A74A7F;B6>?<8F4GG;86BE8B9G;8<EFG

@8A7@8AG ,;<F<FC4EG<6H?4E?LFBBA6B??8:864@CHF8F "AG8??86GH4?47I4A68@8AG;4F

GE47<G<BA4??LCEB:E8FF87G;EBH:;7<F6BE74A77<FF8AG4F47<I8EF<GLB9I<8JF8AFHE8FG;4G

<784FFHEI<I85864HF8G;8L4E86BEE86GABG5864HF8G;8L4E8CBCH?4E R/%1*(4&95"1*

$/0" 38 -38 /,, *23    7     G; <E       Q1"29 <G <F G;8 FC84>8ETF

BC<A<BAG;4G:<I8FB998AF8G;4G6BAF8DH8A68<F4E84FBA9BE466BE7<A:<G6BAFG<GHG<BA4?

CEBG86G<BA R423,&1"("9*.&.$5",6&,,- +   

                                               
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 36 of 50 Pageid#: 36




             ,;8 -A<I8EF<GLTF 7<F6E<@<A4GBEL ;4E4FF@8AG CB?<6L <F HA6BAFG<GHG<BA4??L

BI8E5EB47 L<GFG8E@FG;8CB?<6L4CC?<8FGBCEBG86G87FC886; A7I<EGH4??L4ALBC<A

<BABECB?<G<64?58?<89P4FJ8??4F4ALHF8B9;H@BEF4G<E8BEC4EB7LP6BH?758C8E

68<I874FQHAJ8?6B@8RBEQ<A4CCEBCE<4G8 R

             /;<?84HA<I8EF<GL@<:;G5845?8GBCEB;<5<G;4E4FF@8AGG;4G4@BHAGFGB

Q7<F6E<@<A4G<BAR4:4<AFG4CEBG86G876?4FFG;4G<FQFBF8I8E8C8EI4F<I84A7B5=86G<I8?L

B998AF<I8G;4G<G64A58F4<7GB78CE<I8G;8I<6G<@FB94668FFGBG;887H64G<BA4?BCCBE

GHA<G<8FBE58A89<GFCEBI<7875LG;8F6;BB?R"5*2&71&,")/.%"5/.1/& 38 %

/'%4$- +   G;8-A<I8EF<GLTF7<F6E<@<A4GBEL ;4E4FF@8AGEH?8:B8F

94E58LBA7G;4G 

             ,;8+HCE8@8BHEG;4F4?FB6BAF<FG8AG?LE86B:A<M87G;8QFH5FG4AG<4?4A7

8KC4AF<I8G;E84GFGB9E888KCE8FF<BACBF875L6BAG8AG 54F87E8FGE<6G<BAF R.*3&%3"3&2

5 ,5"1&9- +     QBAG8AG 54F87E8:H?4G<BAFR4E8QCE8FH@CG<I8?L

<AI4?<7 R 5 *38/'3"4, - +   66BE7<A:?LQ4ALE8FGE<6G<BA

54F87BAG;86BAG8AGB9G;8FC886;@HFGF4G<F9LFGE<6GF6EHG<ALG;4G<FG;8E8FGE<6G<BA

@HFG58A4EEBJ?LG4<?BE87GBF8EI846B@C8??<A::BI8EA@8AG<AG8E8FG R,&"2".31/5&

 *3854--4-- +    

             Q,;8<EFG@8A7@8AGTF;BFG<?<GLGB6BAG8AG 54F87E8:H?4G<BA8KG8A7FRGB

QE8FGE<6G<BAF BA C4EG<6H?4E I<8JCB<AGF R &&% 5 /6. /' *,#&13  +  G     

  )B?<6<8F64AABGQFHCCE8FF7<F94IBE87FC886; R% 4G .<8JCB<AG7<F6E<@<

A4G<BA<F9?4G?LCEB;<5<G87 &&".$45 14.&33* + G    

                                               
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 37 of 50 Pageid#: 37




             LE8FGE<6G<A:B998AF<I8FC886;45BHGC8EFBA4?6;4E46G8E<FG<6FFH6;4FE468

8G;A<6<GLBE:8A78EG;87<F6E<@<A4GBEL ;4E4FF@8AGCB?<6L<F46BAG8AG 54F874A7I<8J

CB<AG 54F87E8FGE<6G<BABACEBG86G87FC886; ,;8-A<I8EF<GL;4FAB6B@C8??<A:<AG8E8FG

<A FHCCE8FF<A: G;8 HA98GG8E87 8K6;4A:8 B9 I<8JCB<AGF  I8A <9 G;8 -A<I8EF<GL 6BH?7

<78AG<9L46B@C8??<A:<AG8E8FG<GFI<8JCB<AG 7<F6E<@<A4GBEL54A<FABGA4EEBJ?LG4<?BE87

GB9HEG;8EG;4G<AG8E8FG 

             898A74AGF47BCG87G;<FHA6BAFG<GHG<BA4?CB?<6LHA78E6B?BEB9FG4G8?4J 

                                    
    %)&-%)()"-$! %+,-(  ).+-!!(-$'!( '!(-,)% ")+#.!(!,,
                       %,+%'%(-)+0+,,'!(-)&%0
             )?4<AG<99 E8C84GF 4A7 E84??8:8F 846; B9 G;8 CE<BE 4??8:4G<BAF <A G;<F 6B@

C?4<AG 

             "G<F454F<6CE<A6<C?8B97H8CEB68FFG;4G4A8A46G@8AG<FIB<79BEI4:H8

A8FF<9<GFCEB;<5<G<BAF4E8ABG6?84E?L789<A87 R1"8.&%5 *38/'/$+'/1% - +  

    Q1,2;8I4:H8A8FF7B6GE<A8;4FGJBCE<@4EL:B4?F GB8AFHE894<EABG<68

GBG;86<G<M8AEL4A7GBCEBI<78FG4A74E7F9BE8A9BE68@8AG15LB99<6<4?F2 R 22<./'

 ,&5&,".%*1&*()3&125 *38/' ,&5&,".%  7 G;<E  2&&"1%6*$+

&71&,"1%6*$+5&86"1%  7G;<E  Q?4J<FHA6BAFG<GHG<BA

4??LI4:H8<9<G94<?FGB8FG45?<F;FG4A74E7F9BEG;8:BI8EA@8AG4A7CH5?<6G;4G4E8FH99<

6<8AGGB:H4E74:4<AFGG;84E5<GE4EL78CE<I4G<BAB9?<58EGL<AG8E8FGF R 

             /<G;E8FC86GGBG;89<EFG:B4?OS142FG4GHG8J;<6;8<G;8E9BE5<7FBEE8

DH<E8FG;87B<A:B94A46G<AG8E@FFBI4:H8G;4G1<A7<I<7H4?F2B96B@@BA<AG8??<:8A68


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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 38 of 50 Pageid#: 38




@HFGA868FF4E<?L:H8FF4G<GF@84A<A:4A77<998E4FGB<GF4CC?<64G<BAI<B?4G8FG;89<EFG

8FF8AG<4?B97H8CEB68FFB9?4J TR ,&5&,".%*1&*()3&12  74G DHBG<A: /..",,8

5&. /.231 /- +   2&&",2/"..*.(5 ",%6&,,'/1 *38/'/"./+&

  7G;<E  Q,;8CHECBF8B9G;894<EABG<68E8DH<E8@8AG<FGB

8A45?86<G<M8AFGB6BA9BE@G;8<E6BA7H6GGBG;8CEBF6E<CG<BAFB9G;8?4J R Q/<G;E8

FC86GGBG;8F86BA7:B4?OS<94E5<GE4EL4A77<F6E<@<A4GBEL8A9BE68@8AG<FGB58CE8

I8AG87?4JF@HFGCEBI<788KC?<6<GFG4A74E7F9BEG;BF8J;B4CC?LG;8@ I4:H8?4J

<@C8E@<FF<5?L78?8:4G8F54F<6CB?<6L@4GG8EFGB1B99<6<4?F29BEE8FB?HG<BABA4A47;B6

4A7FH5=86G<I854F<F TR ,&5&,".%*1&*()3&12  74G DHBG<A:1"8.&% - + 

4G   

             ,;<FCE<A6<C?8B96?4E<GL<F8FC86<4??L78@4A7<A:J;8A<EFG@8A7@8AG

9E887B@F4E84GFG4>8 "9G;86;4??8A:87?4JQ<AG8E98E8FJ<G;G;8E<:;GB99E88FC886;BE

B94FFB6<4G<BA4@BE8FGE<A:8AGI4:H8A8FFG8FGF;BH?74CC?L R*,,"(&/'/''-".23"3&2

5,*02*%&/''-".23"3&2.$- +   Q8EG4<AGL<F4??G;8@BE88F

F8AG<4?J;8AI4:H8A8FF@<:;G<A7H68<A7<I<7H4?FGB9BE8:BG;8<EE<:;GFB9FC886;CE8FF

4A74FFB6<4G<BA9BE984EB9I<B?4G<A:4AHA6?84E?4J R$4,,5"&71&, /--/."6

&'/1-"$*", $3*5*3*&2- +   

             ,;87<F6E<@<A4GBEL ;4E4FF@8AGCB?<6L:<I8FFGH78AGFAB:H<74A6845BHG

J;4GFC886;<FC8E@<GG874A7J;4GFC886;<FATG ,;8CB?<6L7B8FABGFC86<9LJ;4G6BA

FG<GHG8F4AQ<AG8E98E81A682RJ<G;FB@8BA8TFQ46478@<6C8E9BE@4A68BEC4EG<6<C4G<BA<A




                                              
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 39 of 50 Pageid#: 39




HA<I8EF<GL46G<I<G<8FRBE78?<A84G8G;8Q<A4CCEBCE<4G86BA7H6GRG;4GG;8-A<I8EF<GLCEB

;<5<GF 

              ,;88K4@C?8FB9Q7<F6E<@<A4GBEL;4E4FF@8AGRCEBI<7875LG;8-A<I8EF<GL

BA?L6B@CBHA7G;8CB?<6LTFI4:H8A8FF ,;8-A<I8EF<GLFG4G8FG;4GQ1@2<FGE84G<A:FB@8

BA87H8GBG;8<EE468E8?<:<BABEF8KH4?BE<8AG4G<BAR64A587<F6E<@<A4GBEL;4E4FF@8AG

5HGA8I8E789<A8FQ@<FGE84G<A:FB@8BA8 R"G?<>8J<F8FG4G8FG;4G7<F6E<@<A4GBEL;4E4FF

@8AG<A6?H78FQ1G28??<A:HAJ8?6B@8=B>8F45BHGFB@8BA8TF<78AG<GLFH6;4FE468BEA4

G<BA4?BE<:<AR5HG7B8FATG8?45BE4G89HEG;8E A75864HF8G;8CB?<6LBA?LCEB;<5<GF=B>8F

G;4G4?<FG8A8E9<A7FQ1H2AJ8?6B@8RG;8?8:4?<GLB94=B>878C8A7F8AG<E8?LBAG;8C8E

68CG<BAB9G;8?<FG8A8E 

              ,;<F45F8A68B946?84EFG4A74E76E84G8F4F8E<BHFE<F>G;4GG;8CB?<6LJ<??

588A9BE687<A4A4E5<GE4EL@4AA8EBEJ<??58HF87GBG4E:8GFC886;54F87BAG;8I<8J

CB<AGB9G;8FC84>8E && /"3&25 *38/' *.$*.."3* - +       ,;8

-A<I8EF<GLTF7<F6?4<@8EG;4GQ1G2;<FCB?<6L7B8FABG4??BJ6HEG4<?@8AGBE68AFBEF;<CB9

6BAFG<GHG<BA4??LCEBG86G878KCE8FF<BARBA?L8K468E54G8FG;8I4:H8A8FF &&"3<,&/0,&<2

  $3*/.5 *38/' ,4&2,".% +HCC  '  "??   /,,&04#,*$".2"3".

1".$*2$/3"3&.*55&&% +HCC 7          '  4?   

              ,;87<F6E<@<A4GBEL;4E4FF@8AGCB?<6L<FG;HFIB<79BEI4:H8A8FF 

              898A74AGF47BCG87G;<FHA6BAFG<GHG<BA4?CB?<6LHA78E6B?BEB9FG4G8?4J 




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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 40 of 50 Pageid#: 40




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                              %)&-%)()"-$! %+,-'!( '!(-
                                       )'*.-!+)&%0
             )?4<AG<99 E8C84GF 4A7 E84??8:8F 846; B9 G;8 CE<BE 4??8:4G<BAF <A G;<F 6B@

C?4<AG 

             ,;8-A<I8EF<GLTF)B?<6L         E8DH<E8FFGH78AGFGBQE8FC86GOG;8E<:;GB9

BG;8EFGB589E88B9<AG<@<74G<BA;4E4FF@8AG4A7HAJ4EE4AG874AABL4A68 R,;8-A<

I8EF<GLTF668CG45?8-F8+G4A74E74?FBCEB;<5<GFFGH78AGF9EB@HF<A:QHA<I8EF<GLFLF

G8@F9BEOC4EG<F4ACB?<G<64?CHECBF8FFH6;4FHF<A:8?86GEBA<6@4<?GB6<E6H?4G847I8E

G<F<A:R9BEQCB?<G<64?64A7<74G8F R

             .<B?4G<BAF B9 G;8 6B@CHG8E CB?<6L 4E8 4 QF8E<BHF B998AF8R FGH78AGF 46

6HF87B9I<B?4G<A:<G4E8QFH5=86GGB8FG45?<F;87HA<I8EF<GL7<F6<C?<A4ELCB?<6<8F4A7CEB

687HE8FR<A6?H7<A:G;8?BFFB9A8GJBE>CE<I<?8:8F4A7BG;8ECHA<F;@8AGF 

             ,;86B@CHG8ECB?<6L<FHA6BAFG<GHG<BA4??LBI8E5EB47 ,;8E84E84FH5FG4A

G<4?AH@58EB9<AFG4A68FJ;8E8G;8CB?<6L64AABG584CC?<876BAF<FG8AGJ<G;G;8<EFG

@8A7@8AG 66BE7<A:GBG;8CB?<6L<GF8?9G;8?8:4?<GLB94CBFGBE@8FF4:878C8A7F

8AG<E8?LHCBAJ;8G;8EG;8E86<C<8AGC8E68<I8F<GGB58Q<AG<@<74G1<A:2RQ;4E4FF1<A:2RBE

QHAJ4EE4AG87R4A7Q4AABL1<A:2 R,;8CB?<6L7B8FABGE8DH<E8B5=86G<I<GLBE<@CBF84

E84FBA45?8 C8EFBAFG4A74E74A7<G7B8FABGE8DH<E84AL?8I8?B9F8I8E<GLBEC8EI4F<I8

A8FF ,;<FBI8E5EB47CB?<6L6;<??FCEBG86G87FC886;4A78KCE8FF<BA 

             ,;8 6B@CHG8E CB?<6L <F 4?FB 4 6BAG8AG 54F87 E8FGE<6G<BA BA CB?<G<64?

FC886;PJ;8E8 G;8 <EFG @8A7@8AG ;4F Q<GF 9H??8FG 4A7 @BFG HE:8AG 4CC?<64G<BA R


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Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 41 of 50 Pageid#: 41




/.*3/1"31*/3 /5/8 - +    ,;8-A<I8EF<GLTF8@4<?466BHAGF4A7

<AG8EA8GA8GJBE>F4E8GE47<G<BA4?CH5?<69BEH@F4G?84FG9BEFGH78AGF && -4341&82

.$5&..3"3&.*5 77<E  8KC?4<A<A:G;4G4FC86GFB94

6B??8:864@CHF64A584GE47<G<BA4?CH5?<69BEH@9BEFGH78AGF8I8A<9<GTFABG9BEBHG

F<78EF"$+*.()"-5/13) "1/,*." + G     8KC?4<A<A:G;4GG;8

<AG8EA8G<FGB74LTFDH<AG8FF8AG<4?GE47<G<BA4?CH5?<69BEH@ +GH78AGF64A4A77BHF8G;8F8

E8FBHE68F9BEC8EFBA4?4A7CB?<G<64?FC886; BAG8AG 54F87E8FGE<6G<BAFBAFC886;<A4

GE47<G<BA4?CH5?<69BEH@@HFGF4G<F9LFGE<6GF6EHG<AL 4--4-- + 4G 

             Q,;8<EFG@8A7@8AGTF;BFG<?<GLGB6BAG8AG 54F87E8:H?4G<BA8KG8A7FABG

BA?LGBE8FGE<6G<BAFBAC4EG<6H?4EI<8JCB<AGF5HG4?FBGBCEB;<5<G<BAB9CH5?<67<F6HFF<BA

B94A8AG<E8GBC<6 ,;HF4FC886;E8:H?4G<BAG4E:8G874GFC86<9<6FH5=86G@4GG8E<F6BAG8AG

54F878I8A<9<G7B8FABG7<F6E<@<A4G84@BA:I<8JCB<AGFJ<G;<AG;4GFH5=86G@4GG8E R

&&% + G 4G BE<AFG4A68Q4?4J54AA<A:G;8HF8B9FBHA7GEH6>F9BECB?<G<64?

FC886;P4A7BA?LCB?<G<64?FC886;PJBH?75846BAG8AG 54F87E8:H?4G<BA8I8A<9<G<@

CBF87AB?<@<GFBAG;8CB?<G<64?I<8JCB<AGFG;4G6BH?7588KCE8FF87 R%+BGBB;8E8 

             ,;8-A<I8EF<GL4??BJFFGH78AGFGBF8A78@4<?F45BHG4AL<FFH8B9CH5?<6

7854G8&7$&039BEQC4EG<F4ACB?<G<64?R<FFH8F?<>8Q47I8EG<F<A:O9BECB?<G<64?64A7<74G8F R

,;4G<F46?4FF<66BAG8AG 54F87E8:H?4G<BA BE8K4@C?8G;8-A<I8EF<GLTFCB?<6L4CC84EF

GB4??BJ4FGH78AGGBF8A74A8@4<?G;4GF4LFQFHCCBEGHA<I8EF4?;84?G;64E8R5HG9BE5<7F

G;8F4@8FGH78AG9EB@F8A7<A:4A8@4<?G;4GF4LFQE8 8?86G8?8:4G8;E<F!HEFG R,;4G

<F<A7898AF<5?84A764AABGF4G<F9L4AL?8I8?B9F6EHG<AL@H6;?8FFFGE<6GF6EHG<AL 

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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 42 of 50 Pageid#: 42




             898A74AGF47BCG87G;<FHA6BAFG<GHG<BA4?CB?<6LHA78E6B?BEB9FG4G8?4J 

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C?4<AG 

             ,;8-A<I8EF<GLTF6B@CHG8ECB?<6LCEB;<5<GFFC886;G;4G<FQC4EG<F4ARP4

G8E@<G7B8FABG789<A8 ,;BH:;G;8CB?<6LCEBI<78F4A8K4@C?8G;4G8K4@C?87B8FABG

CHECBEGGB8K;4HFGG;8@84A<A:B9QC4EG<F4ARP?8G4?BA8FC886;G;4G<F@4789BE4QC4E

G<F4ACB?<G<64?0410/2& R,;8CB?<6LG;HF;4F4QI4:H8A8FFRCEB5?8@4FQSG;87<FG<A6G<BA

58GJ88A7<F6HFF<BAB9<FFH8F4A764A7<74G8F4A747IB646LB98?86G<BABE78984GB964A

7<74G8F@4LB9G8A7<FFB?I8<ACE46G<64?4CC?<64G<BA TR&%,&$3*/. /--<.5                     

.$     +HCC           DHBG<A: 4$+,&8 5 ",&/  - +   

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             ,;8-A<I8EF<GLTF6B@CHG8ECB?<6L?46>F4AL789<A<G<BAF78G4<?6BAG8KGBE

ABG<68GBFGH78AGF45BHGJ;4GFBEGFB9@8FF4:8FG;8-A<I8EF<GLI<8JF4FQ<AG<@<74G1<A:2R

Q;4EE4FF1<A:2RBEQHAJ4EE4AG87R4A7Q4AABL<A: R,;84668CG45<?<GLB94CBFGBE@8FF4:8

G;HFGHEAF8AG<E8?LBAG;8FH5=86G<I8C8EFC86G<I8B94AB5F8EI8EBEE86<C<8AG ,;<FCEB

I<F<BA64AABGCBFF<5?L:<I8FGH78AGFQ94<EABG<68RFBG;8L64AQ6BA9BE@G;8<E6BA7H6G

GBG;8CEBF6E<CG<BAFB9G;8?4J R"..*.(  74G 

             &BE8BI8EG;8CB?<6LCHECBEGFGB6BI8EBA?LFC886;G;4G64HF8FQHAJ4E

E4AG87 4AABL4A68 R HG <9 QHAJ4EE4AG87 4AABL4A68R <F CEB;<5<G87 G;8A 6"11".3&%


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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 43 of 50 Pageid#: 43




4AABL4A68@HFG58B>4L /;4G6BAFG<GHG8FQJ4EE4AG874AABL4A68R<F4ALBA8TF:H8FF 

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             898A74AGF47BCG87G;<FHA6BAFG<GHG<BA4?CB?<6LHA78E6B?BEB9FG4G8?4J 

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C?4<AG 

             ,;8-A<I8EF<GLTF789<A<G<BAB9Q5<4F E8?4G87<A6<78AGR8A6B@C4FF8FFC886;

G;4G<F9H??LCEBG86G87HA78EG;8<EFG@8A7@8AG 

             ,;8 Q5<4F E8?4G87 <A6<78AGFR CB?<6L <F 4 6BAG8AG 54F87 4A7 I<8JCB<AG

54F87 E8FGE<6G<BA BA FC886;  "G <F CE8FH@CG<I8?L HA6BAFG<GHG<BA4? 4A7 64AABG FHEI<I8

FGE<6GF6EHG<AL 

             ,;8 CB?<6L <F HA6BAFG<GHG<BA4??L BI8E5EB47 4F <G 8A6B@C4FF8F CEBG86G87

FC886; 4A7 G;8E8 4E8 4 FH5FG4AG<4? AH@58E B9 <AFG4A68F J;8E8 G;8 CB?<6L 64AABG 58

4CC?<876BAF<FG8AGJ<G;G;8<EFG@8A7@8AG 

             ,;8 -A<I8EF<GL BC8A?L 46>ABJ?87:8F G;4G FGH78AGF 64A 9468 7<F6<C?<A4EL

F4A6G<BAF9BE6B@@<GG<A:Q5<4F E8?4G87<A6<78AGFRJ;<6;E8A78EFG;8CB?<6LHA6BAFG<GH

G<BA4? BA <GF BJA  HG 8I8A J;8A FGH78AGF 64AABG 58 9BE@4??L 7<F6<C?<A87 G;8 5<4F

E8?4G87<A6<78AGCEBGB6B?B5=86G<I8?L6;<??FFC886;5LG;E84G8A<A:FGH78AGFJ<G;A8:4G<I8

6BAF8DH8A68F4A75LFH5=86G<A:G;8@GB5HE78AFB@847@<A<FGE4G<I8CEB68FF8F<A6?H7

<A: @88G<A:F J<G; -A<I8EF<GL 47@<A<FGE4GBEF 4A7 Q87H64G<BA4? BCCBEGHA<G<8F 9BE


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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 44 of 50 Pageid#: 44




HA78EFG4A7<A:CEBG86G87FC886;4A7G;8EB?8B9GB?8E4A68<AG;864@CHF6B@@HA<GLR 

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               ,;<FBI8E5EB47CB?<6L6;<??FCEBG86G87FC886;4A78KCE8FF<BA 

               898A74AGF47BCG87G;<FHA6BAFG<GHG<BA4?CB?<6LHA78E6B?BEB9FG4G8?4J 

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C?4<AG 

               ,;8-A<I8EF<GLTF789<A<G<BAB94Q5<4F E8?4G87<A6<78AGRJ;<6;4CC?<8FGB

Q8KCE8FF<BAF4:4<AFG4C8EFBABE:EBHCR54F87HCBAQG;8C8EFBATFBE:EBHCTF4:86B?BE

7<F45<?<GL:8A78E:8A78E<78AG<GL:8A78E8KCE8FF<BARBEBG;8ECEBG86G876;4E46G8E<FG<6F

<F4@BEC;BHF4A7FH5=86G<I8 

               ,;<F4@BEC;BHFFG4A74E76E84G8F4F8E<BHFE<F>G;4GG;8CB?<6LJ<??588A

9BE687<A4A4E5<GE4ELBE7<F6E<@<A4GBEL@4AA8EBEJ<??58HF87GBG4E:8GFC886;54F87

BAG;8I<8JCB<AG8KCE8FF87 

               ,;8-A<I8EF<GLTFCB?<6LBAQ5<4F E8?4G87<A6<78AGFR<FG;HFIB<79BEI4:H8

A8FF 

               898A74AGF47BCG87G;<FHA6BAFG<GHG<BA4?CB?<6LHA78E6B?BEB9FG4G8?4J 




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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 45 of 50 Pageid#: 45




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             )?4<AG<99 E8C84GF 4A7 E84??8:8F 846; B9 G;8 CE<BE 4??8:4G<BAF <A G;<F 6B@

C?4<AG 

             )E<BEE8FGE4<AGFQCE86?H788KCE8FF<BAHAG<?68EG4<AE8DH<E8@8AGF4E8@8G R

  -.3&13"*.&12 5 *38/'/$+8/4.3 7  G;<E   CE<BE

E8FGE4<AG 8K<FGF J;8A 4 E8:H?4G<BA :<I8F QCH5?<6 B99<6<4?F G;8 CBJ8E GB 78AL HF8 B9 4

9BEH@<A47I4A68B946GH4?8KCE8FF<BA R&1/-/3*/.23%5 /.1"% - + 

  Q,;8E8?8I4AGDH8FG<BA<FJ;8G;8EG;86;4??8A:87E8:H?4G<BA4HG;BE<M8FFHCCE8F

F<BAB9FC886;<A47I4A68B9<GF8KCE8FF<BA R "1%5/$+ ("*.23"$*2- - +  

A   

             Q)E<BEE8FGE4<AGF584ES4;84ILCE8FH@CG<BA4:4<AFGG;8<E6BAFG<GHG<BA4?I4

?<7<GL TR . 1& 410)8 1/6.      7   G; <E    DHBG<A: ".3"-

 //+2.$54,,*5".- +    ,;8LQHC8A76BE8<EFG@8A7@8AGCE<A

6<C?8F5864HF849E88FB6<8GLCE898EFGBCHA<F;G;898JJ;B45HF8E<:;GFB9FC886;49G8E

G;8L5E84>G;8?4J1E4G;8E2G;4AGBG;EBGG?8G;8@4A74??BG;8EF589BE8;4A7 R%

             )E<BE E8FGE4<AGF 64AABG BI8E6B@8 G;8<E CE8FH@CG<I8 <AI4?<7<GL <9 G;8L

QC?46812HA5E<7?877<F6E8G<BA<AG;8;4A7FB94:BI8EA@8AGB99<6<4?BE4:8A6LRBEQ94<?12

GB C?468 ?<@<GF BA G;8 G<@8 J<G;<A J;<6; G;8 786<F<BA@4>8E @HFG <FFH8 G;8 ?<68AF8 R

  .$5 *38/'",,"2- +     2&&",2/ -.3&13"*.&12

 74G ,;HFQ4?4JFH5=86G<A:G;88K8E6<F8B9<EFG@8A7@8AG9E887B@FGBG;8


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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 46 of 50 Pageid#: 46




CE<BEE8FGE4<AGB94?<68AF8J<G;BHGA4EEBJB5=86G<I84A7789<A<G8FG4A74E7FGB:H<78

G;8?<68AF<A:4HG;BE<GL<FHA6BAFG<GHG<BA4? R)433,&26/13)5 *38/' *1-*.()"-- + 

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             ,;8<A9BE@4G<BA4? 46G<I<G<8FCB?<6L<F4G8KG5BB>CE<BEE8FGE4<AG ,;8-A<

I8EF<GL 8KCE8FF?L ?<@<GF <A9BE@4G<BA4? 46G<I<G<8F GB FC84>8EF J;B Q4E8 FCBAFBE87 5L 4

HA<I8EF<GL 499<?<4G87 BE:4A<M4G<BAR 4A7 8I8A G;8A Q1F2H6; 46G<I<G<8F E8DH<E8 CE<BE 4C

CEBI4?5LG;878F<:A4G87HA<I8EF<GLF6;87H?<A:B99<684A74E8FH5=86GGBHA<I8EF<GLCB?<

6<8F4A7G;8E84FBA45?8:H<78?<A8FB9G;84HG;BE<M<A:B99<6<4? R

             ,;8 <A9BE@4G<BA4? 46G<I<G<8F CB?<6L 499BE7F G;8 -A<I8EF<GLHA5E<7?87 7<F

6E8G<BAGB:E4AGBE78ALE8DH8FGFGB8A:4:8<AFC886;G;4G<AIB?I8FQG;87<FGE<5HG<BAB9

?<G8E4GHE84A7 BEC8G<G<BA<A:9BEF<:A4GHE8FR4A7GB<@CBF8FH5=86G<I8Q:H<78?<A8FRBA

G;4GFC886; 

             ,;8CB?<6L4?FB94<?FGBC?4684AL?<@<GFBAG;8G<@8G;4GG;8-A<I8EF<GL;4F

GB:E4AGBE78ALC8E@<FF<BA ,;8BA?LQFG4A74E7RG;8-A<I8EF<GLHF8FJ;8A786<7<A:

J;8G;8EGB4??BJFGH78AGFGB7<FGE<5HG8?<G8E4GHE8BE:4G;8EF<:A4GHE8F9BEC8G<G<BAFBA

64@CHF<FJ;8G;8EG;8FC886;<ADH8FG<BA<@C?<64G8FQBI8E4??64@CHFF498GL4A7F86H

E<GLR<AIB?I8FQ4ALFC86<4?6<E6H@FG4A68FE8?4G<A:GBHA<I8EF<GL46G<I<G<8FRBE49986GFG;8

-A<I8EF<GL ,;8F8I4:H86E<G8E<494??JB89H??LF;BEGB9G;8Q6BA6E8G8FG4A74E7FRE8DH<E87

5LG;8<EFG@8A7@8AG  -.3&13"*.&12 74G ,;8-A<I8EF<GLTF<A9BE@4

G<BA4? 46G<I<G<8FCB?<6L<FG;HF4AHA6BAFG<GHG<BA4?CE<BEE8FGE4<AG 




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 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 47 of 50 Pageid#: 47




             ,;8<A9BE@4G<BA4? 46G<I<G<8FCB?<6L4?FB<@CBF8FHA6BAFG<GHG<BA4?FC84>8E

54F87E8FGE<6G<BAF Q+C886;E8FGE<6G<BAF54F87BAG;8<78AG<GLB9G;8FC84>8E4E84??GBB

B9G8A F<@C?L 4 @84AF GB 6BAGEB? 6BAG8AGR 4A7 4E8 G;8E89BE8 Q1C2EB;<5<G87 R *3*9&.2

.*3&%- + 4G ,;8<A9BE@4G<BA4? 46G<I<G<8FCB?<6L94IBEFFB@8FC84>8EFBI8E

BG;8EF ,;8CB?<6LC8E@<GFFGH78AGFJ;BQ4E8FCBAFBE875L4HA<I8EF<GL 499<?<4G87BE

:4A<M4G<BARGB8A:4:8<A4CCEBI87<A9BE@4G<BA4?46G<I<G<8F5HG7B8FABGC8E@<GHA49

9<?<4G87FGH78AGFGB7BG;8F4@8 

             -A78E G;8 CB?<6L FGH78AGF J;B 8A:4:8 <A HA4HG;BE<M87 Q<A9BE@4G<BA4?

46G<I<G<8FR94687<F6<C?<A8 

             898A74AGF47BCG87G;<FCB?<6LHA78E6B?BEB9FG4G8?4J 

                   +C886;<EFGE8FC86G9H??LE8DH8FGFG;4GG;<FBHEG8AG8E=H7:

@8AG<A94IBEB9)?4<AG<994A74:4<AFG898A74AGF4A7CEBI<78G;89B??BJ<A:E8?<89

              786?4E4GBEL =H7:@8AG G;4G G;8 -A<I8EF<GLTF 7<F6E<@<A4GBEL ;4E4FF@8AG

CB?<6LI<B?4G8FG;8<EFG4A7BHEG88AG;@8A7@8AGF

             786?4E4GBEL=H7:@8AGG;4GG;8-A<I8EF<GLTF6B@CHG8ECB?<6LI<B?4G8FG;8

<EFG4A7BHEG88AG;@8A7@8AGF

             786?4E4GBEL=H7:@8AGG;4GG;8-A<I8EF<GLTF5<4F E8?4G87<A6<78AGFCB?<6L

I<B?4G8FG;8<EFG4A7BHEG88AG;@8A7@8AGF

             786?4E4GBEL=H7:@8AGG;4GG;8-A<I8EF<GLTF<A9BE@4G<BA4? 46G<I<G<8FCB?

<6LI<B?4G8FG;8<EFG@8A7@8AG




                                             
 Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 48 of 50 Pageid#: 48




              C8E@4A8AG<A=HA6G<BA54EE<A:898A74AGF9EB@8A9BE6<A:G;8-A<I8E

F<GLTF7<F6E<@<A4GBEL ;4E4FF@8AGCB?<6L

              C8E@4A8AG<A=HA6G<BA54EE<A:898A74AGF9EB@8A9BE6<A:G;8-A<I8E

F<GLTF6B@CHG8ECB?<6L

               C8E@4A8AG<A=HA6G<BA54EE<A:898A74AGF9EB@8A9BE6<A:G;8-A<I8E

F<GLTF5<4F E8?4G87<A6<78AGFCB?<6L

               C8E@4A8AG<A=HA6G<BA54EE<A:898A74AGF9EB@<AI8FG<:4G<A:?B::<A:

G;E84G8A<A: E898EE<A: BE CHA<F;<A: 9BE@4??L BE <A9BE@4??L FGH78AGF 9BE 5<4F E8?4G87

<A6<78AGF

               C8E@4A8AG<A=HA6G<BA54EE<A:898A74AGF9EB@8A9BE6<A:G;8-A<I8E

F<GLTF<A9BE@4G<BA4? 46G<I<G<8FCB?<6L

                CE8?<@<A4EL <A=HA6G<BA :E4AG<A: G;8 E8?<89 FC86<9<87 45BI8 7HE<A: G;8

C8A78A6LB9G;<F46G<BA

               ABE78E;B?7<A:898A74AGF=B<AG?L4A7F8I8E4??L?<45?89BEAB@<A4?74@

4:8F<AG;8FH@B9 

              )?4<AG<99TF E84FBA45?8 6BFGF 4A7 8KC8AF8F B9 G;<F 46G<BA <A6?H7<A: 4GGBE

A8LFT988FC8E- +  N 4A74??BG;8E4CC?<645?8?4JF4A7

              ??BG;8EE8?<89G;4G)?4<AG<99<F8AG<G?87GB 




                                                 
    Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 49 of 50 Pageid#: 49




    4G87CE<?                  *8FC86G9H??LFH5@<GG87
                                         
                                         2 "-&1/./11*2
                                         # &<6;48?BAAB??L.4 4E'B 
                                         4@8EBA, 'BEE<F.4 4E'B  
                                         #4@8F !4FFBA01/)"$5*$&9BEG;6B@<A:
                                           &  )%%
                                            /<?FBA?I7 +H<G8 
                                         E?<A:GBA. 
                                           
                                         @<>86BAFBIBL@664EG;L 6B@
                                         64@6BAFBIBL@664EG;L 6B@
                                         =4@8F6BAFBIBL@664EG;L 6B@
                           




                                       
Case 7:21-cv-00203-MFU Document 1 Filed 04/08/21 Page 50 of 50 Pageid#: 50

                                                        7:21cv00203
